    Case
      Case
         1:17-cr-00224-AT-CMS
           1:17-cr-00224-AT-CMS Document
                                 Document292
                                          291 Filed 09/08/22 Page
                                                              Page11ofof141

                          UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF GEORGIA
                                   2211 UNITED STATES COURTHOUSE
                                      75 TED TURNER DRIVE, SW
                                    ATLANTA, GEORGIA 30303-3361
KEVIN P. WEIMER                                                                  DOCKETING SECTION
DISTRICT COURT EXECUTIVE                                                                  404-215-1655
AND CLERK OF COURT
                                           September 8, 2022

Clerk's Office - USCA No. 00-00000-00
U.S. Court of Appeals
Eleventh Circuit
56 Forsyth Street, NW
Atlanta, Georgia 30303

        Re:        United States of America v. Allen J. Pendergrass
                   USDC Criminal No. 1:17-cr-224-AT-CMS-1

       Enclosed are documents regarding an appeal in the action referenced above. Please
acknowledge receipt of same on the enclosed copy of this letter.

        Certified copy of notice of appeal, docket, order and/or judgment, and commitment
   X    appealed from enclosed.

        Original non-electronic record exhibits transmitted pursuant to request. (See attached copy of
        request.)

        Appeal fees been paid.

        Certified copy of order appointing Federal Defender Program enclosed.

   X    Certified copy of CJA order appointing counsel enclosed.

        Appellant has been forwarded an application to proceed IFP.

        Appellant has been leave to proceed IFP, copy of order enclosed.

        An appeal bond has been denied.

   X    District Judge appealed from is Honorable Amy Totenberg.

        Other: .

The enclosed certified, record on appeal consists of:

         Volume(s) of pleadings                                Envelope of Exhibits

         Volume(s) of transcripts.                             PSI enclosed. (SEALED)

                                                        Sincerely,

                                                        Kevin P. Weimer
                                                        Clerk of Court

                                                  By:   /s/P. McClam
Enclosures                                              Deputy Clerk




                                                                                                         41
  Case 1:17-cr-00224-AT-CMS            Document 292       Filed 09/08/22      Page 2 of 41


                                                                 APPEAL,AVEXH,CertRdyTrl,SHORT
                           U.S. District Court
                  Northern District of Georgia (Atlanta)
        CRIMINAL DOCKET FOR CASE #: 1:17−cr−00224−AT−CMS−1

Case title: USA v. Pendergrass et al                         Date Filed: 06/27/2017

                                                             Date Terminated: 08/26/2022

Assigned to: Judge Amy
Totenberg
Referred to: Magistrate Judge
Catherine M. Salinas

Defendant (1)
Allen J. Pendergrass                   represented by Saraliene Durrett
65828019                                              Saraliene Smith Durrett, LLC
100 Julia Court                                       Suite 300
Fayetteville, GA 30214                                1800 Peachtree Street, NE
TERMINATED: 08/26/2022                                Atlanta, GA 30309
                                                      404−433−0855
                                                      Email: ssd@defendingatl.com
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED
                                                      Designation: CJA Appointment

                                                     Sydney Rene Strickland
                                                     Strickland Webster, LLC −Atl
                                                     Suite 510−203
                                                     830 Glenwood Ave., S.E.
                                                     Atlanta, GA 30316
                                                     404−590−7967
                                                     Fax: .
                                                     Email: sydney@stricklandwebster.com
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED
                                                     Designation: CJA Appointment

                                                     Robert H. Citronberg
                                                     Law Office of Robert Citronberg
                                                     Suite 4100
                                                     303 Peachtree Street, NW
                                                     Atlanta, GA 30308
                                                     404−522−7450
                                                     Email: rcitronberg@gmail.com
                                                     TERMINATED: 11/20/2018
                                                     Designation: CJA Appointment




                                                                                                 1
  Case 1:17-cr-00224-AT-CMS       Document 292   Filed 09/08/22       Page 3 of 41




Pending Counts                              Disposition
                                            22 months as to Count 1−6 to be served
                                            concurrently to each other and 24 months as to each
                                            of Counts 7−10 to be served concurrently to each
18:1341.F and 2 FRAUDS AND
                                            other and consecutively to Counts 1−6 for a total
SWINDLES
                                            term of 46 months. 18 month supervised release
(1−5)
                                            with special and mandatory conditions of release.
                                            $1000.00 special assessment. $221,298.36 in
                                            restitution.
                                            22 months as to Count 1−6 to be served
                                            concurrently to each other and 24 months as to each
18:1956−3300.F MONEY                        of Counts 7−10 to be served concurrently to each
LAUNDERING − INTERSTATE                     other and consecutively to Counts 1−6 for a total
COMMERCE                                    term of 46 months. 18 month supervised release
(6)                                         with special and mandatory conditions of release.
                                            $1000.00 special assessment. $221,298.36 in
                                            restitution.
                                            22 months as to Count 1−6 to be served
                                            concurrently to each other and 24 months as to each
18:1028A.F(a)(1) and 2 FRAUD                of Counts 7−10 to be served concurrently to each
WITH IDENTIFICATION                         other and consecutively to Counts 1−6 for a total
DOCUMENTS                                   term of 46 months. 18 month supervised release
(7)                                         with special and mandatory conditions of release.
                                            $1000.00 special assessment. $221,298.36 in
                                            restitution.
                                            22 months as to Count 1−6 to be served
                                            concurrently to each other and 24 months as to each
18:1028A.F(a)(1) and 2 FRAUD                of Counts 7−10 to be served concurrently to each
WITH IDENTIFICATION                         other and consecutively to Counts 1−6 for a total
DOCUMENTS                                   term of 46 months. 18 month supervised release
(8)                                         with special and mandatory conditions of release.
                                            $1000.00 special assessment. $221,298.36 in
                                            restitution.
                                            22 months as to Count 1−6 to be served
                                            concurrently to each other and 24 months as to each
18:1028A.F(a)(1) and 2 FRAUD                of Counts 7−10 to be served concurrently to each
WITH IDENTIFICATION                         other and consecutively to Counts 1−6 for a total
DOCUMENTS                                   term of 46 months. 18 month supervised release
(9−10)                                      with special and mandatory conditions of release.
                                            $1000.00 special assessment. $221,298.36 in
                                            restitution.

Highest Offense Level (Opening)
Felony

Terminated Counts                           Disposition
None

                                                                                                  2
  Case 1:17-cr-00224-AT-CMS   Document 292     Filed 09/08/22      Page 4 of 41




Highest Offense Level
(Terminated)
None

Complaints                               Disposition
None



Plaintiff
USA                                 represented by Jeffrey Aaron Brown
                                                   Office of the United States
                                                   Attorney−ATL600
                                                   Northern District of Georgia
                                                   600 United States Courthouse
                                                   75 Ted Turner Dr., S.W.
                                                   Atlanta, GA 30303
                                                   404−581−6064
                                                   Email: Jeff.A.Brown@usdoj.gov
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: Retained

                                                  Tracia M. King
                                                  Office of the United States
                                                  Attorney−ATL600
                                                  Northern District of Georgia
                                                  600 United States Courthouse
                                                  75 Ted Turner Dr., S.W.
                                                  Atlanta, GA 30303
                                                  404−581−6305
                                                  Email: tracia.king@usdoj.gov
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED
                                                  Designation: Retained

                                                  Randy Scott Chartash
                                                  Office of the United States
                                                  Attorney−ATL600
                                                  Northern District of Georgia
                                                  600 United States Courthouse
                                                  75 Ted Turner Dr., S.W.
                                                  Atlanta, GA 30303
                                                  404−333−2423
                                                  Fax: 404−365−3885
                                                  Email: randy@chartashlaw.com
                                                  Designation: Retained

                                                  Teresa Marie Stolze
                                                  Office of the United States

                                                                                   3
 Case 1:17-cr-00224-AT-CMS           Document 292       Filed 09/08/22       Page 5 of 41


                                                            Attorney−ATL600
                                                            Northern District of Georgia
                                                            600 United States Courthouse
                                                            75 Ted Turner Dr., S.W.
                                                            Atlanta, GA 30303
                                                            404−581−6181
                                                            Email: teresa.stolze@usdoj.gov
                                                            TERMINATED: 06/29/2021
                                                            Designation: Retained

Date Filed   #    Page Docket Text
06/27/2017   1         INDICTMENT with Forfeiture Provision as to Allen J. Pendergrass (1)
                       count(s) 1−5, 6, 7−10, and Terrell McQueen (2) count(s) 1−5, 6, 7−10. (cmd)
                       (Entered: 06/29/2017)
06/27/2017   2         Defendant Information Sheet as to Allen J. Pendergrass. (cmd) (Entered:
                       06/29/2017)
06/27/2017   4         Request for Arraignment as to Allen J. Pendergrass. (cmd) (Entered:
                       06/29/2017)
06/27/2017   5         Writ of Habeas Corpus ad Prosequendum Issued as to Allen J. Pendergrass on
                       6/27/2017. Arraignment set for 7/21/2017 at 09:30 AM in ATLA Courtroom
                       1834 before Magistrate Judge John K. Larkins, III. Signed by Magistrate Judge
                       Justin S. Anand on 6/27/2017. (cmd) (Entered: 06/29/2017)
06/30/2017   7         Notice for Leave of Absence for the following date(s): July 17th through July
                       24, 2017, by Jeffrey Aaron Brown. (Brown, Jeffrey) (Entered: 06/30/2017)
07/21/2017             Case as to Allen J. Pendergrass, Terrell McQueen assigned to District Judge
                       Amy Totenberg and Magistrate Judge Catherine M. Salinas. (jtj) (Entered:
                       07/24/2017)
07/21/2017   9         ORDER APPOINTING FEDERAL PUBLIC DEFENDER Victoria Calvert,
                       IA Only, as to Allen J. Pendergrass. Signed by Magistrate Judge John K
                       Larkins, III on 7/21/2017. (jtj) (Entered: 07/24/2017)
07/21/2017   10        ORDER OF CJA 20−Appointment to Pay Court Appointed Counsel, Robert H.
                       Citronberg, for Allen J. Pendergrass. Signed by Magistrate Judge John K
                       Larkins, III on 7/21/2017. (jtj) (Entered: 07/24/2017)
07/21/2017   11        CJA 23 Financial Affidavit by Allen J. Pendergrass. (jtj) (Entered: 07/24/2017)
07/21/2017   12        Minute Entry for proceedings held before Magistrate Judge John K Larkins,
                       III: INITIAL APPEARANCE and ARRAIGNMENT with PLEA of NOT
                       GUILTY by Allen J. Pendergrass (1). (Attachments: # 1 Plea (With Counsel))
                       (Tape #FTR) (jtj) (Entered: 07/24/2017)
08/01/2017   17        PRETRIAL SCHEDULING ORDER as to Allen J. Pendergrass. Pretrial
                       Conference set for 8/9/2017 at 10:00 AM in ATLA Courtroom 1810 before
                       Magistrate Judge Catherine M. Salinas. Signed by Magistrate Judge Catherine
                       M. Salinas on 8/01/2017. (jtj) (Entered: 08/01/2017)
08/08/2017   20        MOTION for Extension of Time time to file motions and conduct pretrial
                       conference by Allen J. Pendergrass. (Citronberg, Robert) (Entered: 08/08/2017)

                                                                                                         4
Case 1:17-cr-00224-AT-CMS     Document 292          Filed 09/08/22       Page 6 of 41



08/09/2017   21   Minute Entry for proceedings held before Magistrate Judge Catherine M.
                  Salinas: Bond Hearing as to Allen J. Pendergrass. Non−surety Bond set at
                  $50,000. Defendant released. (Tape #FTR) (jtj) (Entered: 08/10/2017)
08/09/2017   22   ORDER Setting Conditions of Release as to Allen J. Pendergrass. Signed by
                  Magistrate Judge Catherine M. Salinas on 8/09/2017. (jtj) (Entered:
                  08/10/2017)
08/11/2017   23   ORDER GRANTING 20 Motion for Extension of Time as to Allen J.
                  Pendergrass (1). The deadline for filing pre−trial motions is hereby extended to
                  August 22, 2017, and the pretrial conference is rescheduled for August 25,
                  2017, at 10:30 a.m. The time from August 9, 2017, to and until August 25,
                  2017, is excluded from the Speedy Trial Act computation. Signed by
                  Magistrate Judge Catherine M. Salinas on 8/11/2017. (jtj) (Entered:
                  08/14/2017)
08/24/2017   25   MOTION for Jackson−Denno Hearing by Allen J. Pendergrass. (Citronberg,
                  Robert) (Entered: 08/24/2017)
08/24/2017   26   MOTION to Suppress Evidence by Allen J. Pendergrass. (Citronberg, Robert)
                  (Entered: 08/24/2017)
08/24/2017   27   MOTION to Dismiss indictment by Allen J. Pendergrass. (Citronberg, Robert)
                  (Entered: 08/24/2017)
08/24/2017   28   MOTION for Extension of Time time to perfect motions by Allen J.
                  Pendergrass. (Citronberg, Robert) (Entered: 08/24/2017)
08/24/2017   29   MOTION for Leave to File motions out of time (2 days) by Allen J.
                  Pendergrass. (Citronberg, Robert) (Entered: 08/24/2017)
08/25/2017   31   Minute Entry for proceedings held before Magistrate Judge Catherine M.
                  Salinas: Pretrial Conference as to Allen J. Pendergrass. TAKING UNDER
                  ADVISEMENT 25 Motion for Jackson−Denno Hearing, 26 Motion to
                  Suppress Evidence, 27 Motion to Dismiss(The defendant is to perfect the
                  motion by 9/29/17.) and GRANTING 28 Motion for Extension of Time and 29
                  Motion for Leave to File. (Tape #FTR) (bnw) (Entered: 08/25/2017)
08/31/2017        ORAL MOTION to Travel outside Jurisdiction by Allen J. Pendergrass. (jtj)
                  (Entered: 08/31/2017)
08/31/2017   32   ORDER GRANTING Oral Motion to Travel outside Jurisdiction as to Allen J.
                  Pendergrass (1). Defendant may travel to Columbus, Ohio to visit his mother
                  from September 1 9, 2017. Defendant shall continue to comply with all other
                  conditions and restrictions set forth in the August 9, 2017 Order granting
                  pretrial release, [Doc. No. 22]. Signed by Magistrate Judge Catherine M.
                  Salinas on 8/31/2017. (jtj) (Entered: 08/31/2017)
09/29/2017   33   MOTION for Extension of Time to perfect motion to dismiss, by Allen J.
                  Pendergrass. (Citronberg, Robert) Modified on 9/29/2017 to edit docket text.
                  (jtj) (Entered: 09/29/2017)
09/29/2017   34   Notice for Leave of Absence for the following date(s): October 11, 2017 to
                  October 13, 2017; November 20, 2017 to November 24, 2017; and December
                  21, 2017 to December 29, 2017., by Jeffrey Aaron Brown. (Brown, Jeffrey)
                  (Entered: 09/29/2017)


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Case 1:17-cr-00224-AT-CMS     Document 292          Filed 09/08/22       Page 7 of 41



10/04/2017   35   ORDER GRANTING 33 Motion for Extension of Time as to Allen J.
                  Pendergrass (1). The defendant shall have through and including October 4,
                  2017, in which to perfect his motion to dismiss. The time from September 29,
                  2017, to and until October 4, 2017, is excluded from the Speedy Trial Act
                  computation. Signed by Magistrate Judge Catherine M. Salinas on 10/04/2017.
                  (jtj) (Entered: 10/04/2017)
10/05/2017   36   MOTION to Dismiss Indictment by Allen J. Pendergrass. (Attachments: # 1
                  Exhibit Ohio Indictment) (Citronberg, Robert) (Entered: 10/05/2017)
10/30/2017   37   RESPONSE in Opposition to 36 MOTION to Dismiss Indictment as to Allen J.
                  Pendergrass, filed by USA. (Brown, Jeffrey) (Entered: 10/30/2017)
12/04/2017   38   NON−FINAL REPORT AND RECOMMENDATION as to Allen J.
                  Pendergrass RECOMMENDING 25 MOTION for Jackson−Denno Hearing, 36
                  MOTION to Dismiss Indictment, and 27 MOTION to Dismiss indictment be
                  DENIED. Defendant's Preliminary Motion to Suppress [Doc. 26] remains
                  pending. An evidentiary hearing on this motion is set for December 20, 2017 at
                  9:30 a.m. Signed by Magistrate Judge Catherine M. Salinas on 12/04/2017. (jtj)
                  (Entered: 12/04/2017)
12/04/2017   39   ORDER for Service of 38 Non−Final Report and Recommendation, by
                  Magistrate Judge Catherine M. Salinas as to Allen J. Pendergrass. Each party
                  may file written objections to the Report & Recommendation within 14 days of
                  service. If no objections are filed, the Report & Recommendation may be
                  adopted as the opinion and order of the District Court. Signed by Magistrate
                  Judge Catherine M. Salinas on 12/04/2017. (jtj) (Entered: 12/04/2017)
12/27/2017        Submission of 38 REPORT AND RECOMMENDATION as to Allen J.
                  Pendergrass, submitted to District Judge Amy Totenberg. (jtj) (Entered:
                  12/27/2017)
01/08/2018   40   Supplemental MOTION to Suppress Evidence with Brief In Supportby Allen J.
                  Pendergrass as to Allen J. Pendergrass, Terrell McQueen. (Citronberg, Robert)
                  (Entered: 01/08/2018)
01/22/2018   42   Minute Entry Status Conference as to Allen J. Pendergrass (1) for proceedings
                  held before Magistrate Judge Catherine M. Salinas: The Court TOOK UNDER
                  ADVISEMENT 40 Motion to Suppress Evidence. A government response is
                  due by 2/5/18 and any reply by the defendant is due by 2/19/18. (jtj) (Entered:
                  01/22/2018)
01/23/2018   43   Notice for Leave of Absence for the following date(s): April 2, 2018 to April 6,
                  2018; May 29, 2018 to May 31, 2018; June 1, 2018 to June 5, 2018; and July
                  16, 2018 to July 20, 2018., by Jeffrey Aaron Brown. (Brown, Jeffrey) (Entered:
                  01/23/2018)
02/05/2018   44   RESPONSE in Opposition to 40 Supplemental MOTION to Suppress Evidence
                  as to Allen J. Pendergrass, filed by USA. (Attachments: # 1 Exhibit A)(Brown,
                  Jeffrey) (Entered: 02/05/2018)
02/09/2018   45   NOTICE of Change of Defendant's Address for Allen J. Pendergrass. (jtj)
                  (Entered: 02/12/2018)
02/13/2018   46   ORDER ADOPTING 38 Magistrate's Report and Recommendation as to Allen
                  J. Pendergrass (1). The Court denies as moot 25 Motion for Jackson−Denno

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Case 1:17-cr-00224-AT-CMS     Document 292          Filed 09/08/22        Page 8 of 41



                  Hearing, denies 27 Motion to Dismiss and denies 36 Motion to Dismiss
                  Indictment. Signed by Judge Amy Totenberg on 2/13/2018. (jtj) (Entered:
                  02/13/2018)
02/22/2018   47   REPORT AND RECOMMENDATION as to Allen J. Pendergrass
                  RECOMMENDING 26 and 40 MOTIONS to Suppress be DENIED. This case
                  is CERTIFIED READY FOR TRIAL. Signed by Magistrate Judge Catherine
                  M. Salinas on 2/22/2018. (jtj) (Entered: 02/22/2018)
02/22/2018   48   ORDER for Service of 47 Report and Recommendation by Magistrate Judge
                  Catherine M. Salinas as to Allen J. Pendergrass. Each party may file written
                  objections to the Report & Recommendation within 14 days of service. If no
                  objections are filed, the Report & Recommendation may be adopted as the
                  opinion and order of the District Court. Signed by Magistrate Judge Catherine
                  M. Salinas on 2/22/2018. (jtj) (Entered: 02/22/2018)
03/20/2018        Submission of 47 Report and Recommendation as to Allen J. Pendergrass (1)
                  to District Judge Amy Totenberg. (sap) (Entered: 03/20/2018)
04/19/2018   50   Notice for Leave of Absence for the following date(s): May 17−18, 2018; and
                  June 6−8, 2018 by Jeffrey Aaron Brown. (Brown, Jeffrey) (Entered:
                  04/19/2018)
05/11/2018   51   Notice for Leave of Absence for the following date(s): July 16−20, 2018 by
                  Jeffrey Aaron Brown. (Brown, Jeffrey) (Entered: 05/11/2018)
05/22/2018   52   ORDER ADOPTING the 47 Report and Recommendation DENYING 26 and
                  40 Motion to Suppress Evidence. Trial is hereby set to commence on Monday,
                  June 25, 2018, at 9:30 AM in Courtroom 2308. The pretrial conference is set
                  for Friday, June 8, 2018, at 4:00 PM in Courtroom 2308. See order for further
                  deadlines. The time from the date of this order to June 25, 2018, shall be
                  excluded from computation under the Speedy Trial Act. Signed by Judge Amy
                  Totenberg on 5/22/18. (jpa) (Entered: 05/23/2018)
05/23/2018        Set Hearings as to Allen J. Pendergrass and Terrell McQueen: Jury Trial set for
                  6/25/2018 at 09:30 AM in ATLA Courtroom 2308 before Judge Amy
                  Totenberg. Pretrial Conference set for 6/8/2018 at 04:00 PM in ATLA
                  Courtroom 2308 before Judge Amy Totenberg. (jpa) (Entered: 05/23/2018)
06/05/2018        NOTICE OF CANCELLATION of Hearing: the Pretrial Conference that was
                  set for June 8, 2018, at 4:00 PM has been cancelled as to Allen J. Pendergrass,
                  Terrell McQueen. (acm) (Entered: 06/05/2018)
06/20/2018   54   MOTION to Continue Trial by Allen J. Pendergrass. (Citronberg, Robert)
                  (Entered: 06/20/2018)
06/21/2018   55   ORDER GRANTING the Defendants' 53 and 54 Motion for Continuance of
                  Trial as to Allen J. Pendergrass (1) and Terrell McQueen (2). IT IS HEREBY
                  ORDERED that the above styled criminal action be continued and that the
                  period of time between the filing of this motion and trial, is excluded from the
                  Speedy Trial Act as to both defendants. Signed by Judge Amy Totenberg on
                  6/21/2018. (sap) (Entered: 06/21/2018)
06/29/2018   56   ORDER as to Allen J. Pendergrass and Terrell McQueen: The Court hereby
                  CONTINUES the trial to Monday, August 6, 2018, at 9:30 AM in Courtroom
                  2308. The pretrial conference is set for July 27, 2018, at 2:30 PM in Courtroom

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Case 1:17-cr-00224-AT-CMS     Document 292           Filed 09/08/22        Page 9 of 41



                  2308. Defendants are required to attend the pretrial conference or present a
                  written waiver of their attendance. By July 16, 2018, the parties are to file any
                  motions in limine and proposed voir dire questions. By July 16, 2018, the
                  Government is to file a summary of the indictment for use in voir dire. By July
                  23, 2018, the parties are to file any objections to those items listed above. The
                  time from June 25, 2018, to August 6, 2018, shall be excluded from
                  computation under the Speedy Trial Act pursuant to 18 U.S.C. §
                  3161(h)(7)(A), (h)(7)(B)(i), and (h)(7)(B)(iv). Signed by Judge Amy Totenberg
                  on 6/29/2018. (sap) (Entered: 06/29/2018)
06/29/2018        Clerk's Certificate of Mailing as to Allen J. Pendergrass (1) re 56 Order. (sap)
                  (Entered: 06/29/2018)
07/03/2018   57   First MOTION to Continue Trial by USA as to Allen J. Pendergrass. (Brown,
                  Jeffrey) (Entered: 07/03/2018)
07/23/2018   58   ORDER as to Allen J. Pendergrass (1) granting the Government's 57 Motion
                  for Continuance of Trial. The trial is continued to Tuesday, August 21, 2018, at
                  9:30 AM in Courtroom 2308. The pretrial conference is set for August 15,
                  2018, at 4:15 PM in Courtroom 2308. Defendant Pendergrass is required to
                  attend the pretrial conference or present a written waiver of his attendance. By
                  July 30, 2018, the parties are to file any motions in limine and proposed voir
                  dire questions. By July 30, 2018, the Government is to file a summary of the
                  indictment for use in voir dire. By August 6, 2018, the parties are to file any
                  objections to those items listed above. Signed by Judge Amy Totenberg on
                  7/23/18. (ddm) (Entered: 07/23/2018)
07/23/2018        Clerk's Certificate of Mailing as to Allen J. Pendergrass re 58 Order. Notice of
                  street name change for the Atlanta courthouse included. (ddm) (Entered:
                  07/23/2018)
07/27/2018   61   Second MOTION to Continue Trial by USA as to Allen J. Pendergrass.
                  (Brown, Jeffrey) (Entered: 07/27/2018)
07/30/2018   62   Notice for Leave of Absence for the following date(s): August 29−30, 2018;
                  September 19−21, 2018; October 8−12, 2018; November 19−23, 2018; and
                  December 24−28, 2018 by Jeffrey Aaron Brown. (Brown, Jeffrey) (Entered:
                  07/30/2018)
08/15/2018   64   ORDER GRANTING 61 Motion to Continue Trial as to Allen J. Pendergrass
                  (1). Jury Trial set for 9/24/2018 at 09:30 AM in ATLA Courtroom 2308.
                  Pretrial Conference set for 9/12/2018 at 10:30 AM in ATLA Courtroom 2308
                  before Judge Amy Totenberg. Defendant Pendergrass is required to attend the
                  pretrial conference or present a written waiver of his attendance. By September
                  3, 2018, the parties are to file any motions in limine and proposed voir dire
                  questions. By September 3, 2018, the Government is to file a summary of the
                  indictment for use in voir dire. By 9:00 AM on September 10, 2018, the parties
                  are to file any objections to those items listed above. The time from August 21,
                  2018, to September 24, 2018, shall be excluded from computation under the
                  Speedy Trial Act. Signed by Judge Amy Totenberg on 8/15/2018. (jtj)
                  (Entered: 08/15/2018)
08/15/2018        Clerk's Certificate of Mailing as to Allen J. Pendergrass re 64 Order (jtj)
                  (Entered: 08/15/2018)


                                                                                                      8
Case 1:17-cr-00224-AT-CMS      Document 292          Filed 09/08/22        Page 10 of 41



09/05/2018   65    ORDER as to Allen J. Pendergrass resetting the Pretrial Conference for
                   9/18/2018 at 10:30 AM in ATLA Courtroom 2308 before Judge Amy
                   Totenberg. By September 12, 2018, the parties are to file any motions in limine
                   and proposed voir dire questions. By September 12, 2018, the Government is
                   to file a summary of the indictment for use in voir dire. By 10:00 AM on
                   September 17, 2018, the parties are to file any objections to those items listed
                   above. Signed by Judge Amy Totenberg on 9/05/2018. (jtj) (Entered:
                   09/05/2018)
09/05/2018         Clerk's Certificate of Mailing as to Allen J. Pendergrass re 65 Order. (jtj)
                   (Entered: 09/05/2018)
09/06/2018   66    Government's Summary of the Indictment as to Allen J. Pendergrass, filed by
                   USA. (Brown, Jeffrey) Modified on 9/6/2018 to reflect e−filed document. (jtj)
                   (Entered: 09/06/2018)
09/12/2018   67    Proposed Voir Dire Questions as to Allen J. Pendergrass by USA. (Brown,
                   Jeffrey) (Entered: 09/12/2018)
09/12/2018   68    MOTION to Continue trial date by Allen J. Pendergrass. (Citronberg, Robert)
                   (Entered: 09/12/2018)
09/17/2018   69    ORDER granting 68 Motion for Continuance of of the trial as to Allen J.
                   Pendergrass (1). The time from September 24, 2018, to November 26, 2018,
                   shall be excluded from computation under the Speedy Trial Act. The Jury Trial
                   is rescheduled for 11/26/2018 at 01:30 PM in ATLA Courtroom 2308 before
                   Judge Amy Totenberg. The Pretrial Conference is rescheduled for 11/9/2018 at
                   03:30 PM in ATLA Courtroom 2308 before Judge Amy Totenberg. Signed by
                   Judge Amy Totenberg on 9/17/18. (jpa) (Entered: 09/18/2018)
10/12/2018   71    MOTION in Limine and NOTICE of Intention to Use 404(b) Evidence, filed
                   by USA as to Allen J. Pendergrass (Brown, Jeffrey) Modified on 10/15/2018 to
                   add motion in limine. (jtj) (Entered: 10/12/2018)
10/15/2018   72    NOTICE OF ATTORNEY APPEARANCE Teresa Marie Stolze appearing for
                   USA. (Stolze, Teresa) (Entered: 10/15/2018)
10/31/2018         NOTICE RESCHEDULING PRETRIAL CONFERENCE (by docket entry
                   only) as to Allen J. Pendergrass. Pretrial Conference re−set for 11/8/2018 at
                   03:30 PM in ATLA Courtroom 2308 before Judge Amy Totenberg. (hfm)
                   (Entered: 10/31/2018)
11/02/2018   73    Amended MOTION for (404b) Information of defendant or any co−defendant
                   by USA as to Allen J. Pendergrass. (Brown, Jeffrey) (Entered: 11/02/2018)
11/08/2018   74    Minute Entry for proceedings held before Judge Amy Totenberg: Pretrial
                   Conference as to Allen J. Pendergrass. Defendant will file voir dire and
                   response to 73 Motion for 404b Evidence by 4:00pm on Friday November 16.
                   Jury charges to be filed by Thursday, November 15. (Court Reporter Shannon
                   Welch) (jpa) (Entered: 11/09/2018)
11/15/2018   75    Requests to Charge as to Allen J. Pendergrass (Citronberg, Robert) (Entered:
                   11/15/2018)
11/15/2018   76    Proposed Voir Dire Questions as to Allen J. Pendergrass (Citronberg, Robert)
                   (Entered: 11/15/2018)


                                                                                                      9
Case 1:17-cr-00224-AT-CMS     Document 292          Filed 09/08/22        Page 11 of 41



11/16/2018   77    Government's Proposed Jury Instructions as to Allen J. Pendergrass filed by
                   USA. (Brown, Jeffrey) (Entered: 11/16/2018)
11/19/2018   78    RESPONSE as to Allen J. Pendergrass filed by Allen J. Pendergrass re: 73
                   Amended MOTION for (404b) Information of defendant or any co−defendant ,
                   71 MOTION in Limine (Citronberg, Robert) (Entered: 11/19/2018)
11/19/2018   79    MOTION to Dismiss for Ineffective Assistance of Counsel by Allen J.
                   Pendergrass. (Attachments: # 1 Exhibit A, # 2 Exhibits B − D, # 3 Exhibits E −
                   G, # 4 Exhibits H − I) (jtj) (Entered: 11/20/2018)
11/20/2018   80    Minute Entry for proceedings held before Judge Amy Totenberg: Motion
                   Hearing as to Allen J. Pendergrass re 79 MOTION to Dismiss Indictment filed
                   by Allen J. Pendergrass. Defendants pro se motion to dismiss counsel granted.
                   The trial scheduled to begin November 26, 2018, is continued to a date to be
                   determined. Written order to follow. (Court Reporter Shannon Welch) (jpa)
                   (Entered: 11/21/2018)
12/07/2018         Submission of 73 Amended MOTION for (404b) Information of defendant or
                   any co−defendant, 71 MOTION in Limine as to Allen J. Pendergrass, to
                   District Judge Amy Totenberg. (bdb) (Entered: 12/07/2018)
12/10/2018   81    ORDER OF CJA 20−Appointment to Pay Court Appointed Counsel:
                   Appointment of Attorney Saraliene Smith Durrett for Allen J. Pendergrass (1).
                   Nunc pro tunc to 11/27/2018. Signed by Magistrate Judge Catherine M. Salinas
                   on 12/10/2018. (bdb) (Entered: 12/10/2018)
12/10/2018         Clerk's Certificate of Mailing as to Allen J. Pendergrass re 81 CJA 20 −
                   Appointment to Pay Court Appointed Counsel. (bdb) (Entered: 12/10/2018)
12/11/2018   82    Request for Leave of Absence for the following date(s): February 1, 2019,
                   February 4−8, 2019, April 1−5, 2019, by Saraliene Smith Durrett. (Durrett,
                   Saraliene) (Entered: 12/11/2018)
12/13/2018   83    Notice for Leave of Absence for the following date(s): 2/15, 3/19, 3/20, 3/21,
                   3/22, 4/1, 4/2, 4/3, 4/4 and 4/5/2019, by Jeffrey Aaron Brown. (Brown, Jeffrey)
                   (Entered: 12/13/2018)
01/04/2019   84    NOTICE SETTING TRIAL as to Allen J. Pendergrass. Pretrial Conference set
                   for 5/15/2019 at 10:30 AM in ATLA Courtroom 2308 before Judge Amy
                   Totenberg. Jury Trial set for 5/20/2019 at 09:30 AM in ATLA Courtroom 2308
                   before Judge Amy Totenberg. Defendant is required to attend the pretrial
                   conference or present a written waiver of his attendance. By April 24, 2019, the
                   parties are to file any motions in limine and proposed voir dire questions. By
                   April 24, 2019, the Government is to file a summary of the indictment for use
                   in voir dire. By May 1, 2019, the parties are to file any objections to those
                   items listed above. The time from December 10, 2018, to May 20, 2019, shall
                   be excluded from computation under the Speedy Trial Act pursuant to 18
                   U.S.C. § 3161(h)(7)(A), (h)(7)(B)(i), and (h)(7)(B)(iv). By direction of the
                   Honorable Amy Totenberg, United States District Judge. (bdb) (Entered:
                   01/04/2019)
01/04/2019         Clerk's Certificate of Mailing as to Allen J. Pendergrass re 84 Notice Setting
                   Trial. (bdb) (Entered: 01/04/2019)
01/23/2019   86

                                                                                                      10
Case 1:17-cr-00224-AT-CMS     Document 292           Filed 09/08/22       Page 12 of 41



                   TRANSCRIPT of Hearing on Motion to Dismiss for Ineffective Assistance of
                   Counsel (Part 1 of 3) Proceedings as to Allen J. Pendergrass held on
                   11/20/2018, before Judge Amy Totenberg. Court Reporter/Transcriber
                   Shannon R. Welch, RMR, CRR, Telephone number 404−215−1383. Redaction
                   Request due 2/13/2019. Redacted Transcript Deadline set for 2/25/2019.
                   Release of Transcript Restriction set for 4/23/2019. (Attachments: # 1 Notice
                   of Filing Transcript) (srw) (Entered: 01/23/2019)
01/23/2019   87    TRANSCRIPT of Hearing on Motion to Dismiss for Ineffective Assistance of
                   Counsel (Part 3 of 3) Proceedings as to Allen J. Pendergrass held on
                   11/20/2018, before Judge Amy Totenberg. Court Reporter/Transcriber
                   Shannon R. Welch, RMR, CRR, Telephone number 404−215−1383. Redaction
                   Request due 2/13/2019. Redacted Transcript Deadline set for 2/25/2019.
                   Release of Transcript Restriction set for 4/23/2019. (Attachments: # 1 Notice
                   of Filing Transcript) (srw) (Entered: 01/23/2019)
01/24/2019         Document 88 is sealed. (ddm) (Entered: 01/24/2019)
01/29/2019   89    MOTION to Dismiss on Speedy Trial (Statutory) by Allen J. Pendergrass.
                   (Attachments: # 1 Exhibit Fulton County Docket, # 2 Exhibit APD arrest
                   warrant and search warrant, # 3 Exhibit Release from Fulton County Pretrial
                   Services, # 4 Exhibit Ohio Indictment) (Durrett, Saraliene) (Entered:
                   01/29/2019)
01/29/2019   90    MOTION to Dismiss on Speedy Trial (Constitutional) by Allen J. Pendergrass.
                   (Attachments: # 1 Exhibit Fulton County Docket, # 2 Exhibit Fulton County
                   Bond Order, # 3 Exhibit APD arrest warrant and search warrant, # 4 Exhibit
                   Release from Fulton County Pretrial Services, # 5 Exhibit Ohio Indictment)
                   (Durrett, Saraliene) (Entered: 01/29/2019)
01/30/2019         ORDER (by docket entry only DIRECTING the Government to File a
                   Response re 89 MOTION to Dismiss on Speedy Trial (Statutory), and 90
                   MOTION to Dismiss on Speedy Trial (Constitutional), by Thursday, February
                   7, 2019. A reply will be due Tuesday, February 12, 2019. If defendant does not
                   with to file a reply, he must notify the Court on or before February 11, 2019.
                   By Judge Amy Totenberg on 1/30/19. (hfm) (Entered: 01/30/2019)
01/30/2019   91    Notice for Leave of Absence for the following date(s): 5/15, 5/16, and
                   5/17/2019, by Jeffrey Aaron Brown. (Brown, Jeffrey) (Entered: 01/30/2019)
02/09/2019   92    First MOTION for Extension of Time to File Response/Reply by USA as to
                   Allen J. Pendergrass. (Attachments: # 1 Text of Proposed Order) (Brown,
                   Jeffrey) (Entered: 02/09/2019)
02/12/2019   93    ORDER granting 92 Government's Unopposed Motion for Extension of Time
                   to File Response and Reply as to Allen J. Pendergrass (1). Therefore, it is
                   hereby ORDERED that the government's response to Defendant's Motions to
                   Dismiss Indictment is due on February 15, 2019. The Defendant's reply is due
                   on February 21, 2019. It is further ORDERED that all of the time period from
                   January 29, 2019, the date of the filing of defendant's motions to dismiss, until
                   the date that this motion is resolved, be EXCLUDED from computations under
                   the Speedy Trial Act for the reasons set forth herein, pursuant to 18 U.S.C. §§
                   316l(h)(7)(A) and (B)(iv). Signed by Judge Amy Totenberg on 2/11/2019.
                   (bdb) (Entered: 02/12/2019)


                                                                                                       11
Case 1:17-cr-00224-AT-CMS      Document 292          Filed 09/08/22       Page 13 of 41



02/12/2019         Clerk's Certificate of Mailing as to Allen J. Pendergrass (1) re 93 Order. (bdb)
                   (Entered: 02/12/2019)
02/15/2019   95    RESPONSE in Opposition as to Allen J. Pendergrass filed by USA re 89
                   MOTION to Dismiss on Speedy Trial (Statutory) (Brown, Jeffrey) (Entered:
                   02/15/2019)
02/15/2019   96    RESPONSE in Opposition as to Allen J. Pendergrass filed by USA re 90
                   MOTION to Dismiss on Speedy Trial (Constitutional) (Brown, Jeffrey)
                   (Entered: 02/15/2019)
02/20/2019   97    Unopposed MOTION for Extension of Time to File Response/Reply by Allen
                   J. Pendergrass. (Attachments: # 1 Text of Proposed Order) (Durrett, Saraliene)
                   (Entered: 02/20/2019)
02/20/2019   98    ORDER granting 97 Motion for Extension of Time through 2/28/19 to File
                   Response/Reply as to Allen J. Pendergrass (1). Pursuant to 18 U.S.C.
                   3161(h)(7)(A) and (B)(i) and (iv), the time in between January 20, 2019 and
                   February 28, 2019 shall be excluded from the Speedy Trial calculations.
                   Signed by Judge Amy Totenberg on 2/20/19. (jpa) (Entered: 02/20/2019)
02/27/2019   99    TRANSCRIPT of Audio Recorded Initial Appearance and Arraignment
                   Proceedings as to Allen J. Pendergrass held on 7/21/2017, before Judge John
                   K. Larkins, III. Court Reporter/Transcriber Shannon R. Welch, RMR, CRR,
                   Telephone number 404−215−1383. Redaction Request due 3/20/2019.
                   Redacted Transcript Deadline set for 4/1/2019. Release of Transcript
                   Restriction set for 5/28/2019. (Attachments: # 1 Notice of Filing Transcript)
                   (srw) (Entered: 02/27/2019)
02/28/2019   100   REPLY TO RESPONSE to Motion as to Allen J. Pendergrass filed by Allen J.
                   Pendergrass re: 89 MOTION to Dismiss on Speedy Trial (Statutory) (Durrett,
                   Saraliene) (Entered: 02/28/2019)
02/28/2019   101   REPLY TO RESPONSE to Motion as to Allen J. Pendergrass filed by Allen J.
                   Pendergrass re: 90 MOTION to Dismiss on Speedy Trial (Constitutional)
                   (Attachments: # 1 Exhibit tactical plan for arrest, # 2 Exhibit chain of custody,
                   # 3 Exhibit APD report of investigation)(Durrett, Saraliene) (Entered:
                   02/28/2019)
03/04/2019         Submission of 90 MOTION to Dismiss on Speedy Trial (Constitutional), 89
                   MOTION to Dismiss on Speedy Trial (Statutory) as to Allen J. Pendergrass, to
                   District Judge Amy Totenberg. (bdb) (Entered: 03/04/2019)
03/11/2019   102   ORDER as to Allen J. Pendergrass (1): The Government is DIRECTED to file
                   a response to Defendant's newly asserted ground for its 89 Motion to Dismiss
                   Indictment for Speedy Trial Violation no later than March 18, 2019, and
                   Defendant's 101 Reply in Support of 90 Motion to Dismiss Indictment
                   Pursuant to the Fifth And Sixth Amendment no later than March 25, 2019. The
                   Government is FURTHER DIRECTED in its response filed on March 25, 2019
                   to advise the Court whether all requisite discovery relating to the topics
                   identified in item 2 in the Order has already been provided to Defense counsel
                   or alternatively, if some evidence that has been withheld as outside the current
                   bounds of discovery, the scope of such evidence. The Defendant is DIRECTED
                   to address the issues in item 4 in the Order in a supplemental brief to be filed
                   no later than March 18, 2019 and the Government shall address those issues in


                                                                                                       12
Case 1:17-cr-00224-AT-CMS      Document 292           Filed 09/08/22        Page 14 of 41



                   its response brief filed on or before March 25, 2019. The Defendant shall be
                   authorized to file a reply brief, but such brief shall be filed no later than April
                   1, 2019. The time from March 7, 2019 through May 1, 2019 shall be excluded
                   from computation under the Speedy Trial Act pursuant to 18 U.S.C. §
                   3161(h)(7)(A) and § 3161(h)(7)(B)(i). Signed by Judge Amy Totenberg on
                   3/11/2019. (sap) (Entered: 03/11/2019)
03/11/2019         Clerk's Certificate of Mailing as to Allen J. Pendergrass (1) re 102 Order. (sap)
                   (Entered: 03/11/2019)
03/18/2019   103   (FILED AS TO ALLEN PENDERGRASS (1) ONLY) RESPONSE in
                   Opposition re 89 MOTION to Dismiss on Speedy Trial (Statutory) as to Allen
                   J. Pendergrass filed by USA (Brown, Jeffrey) Modified on 3/19/2019 (sap).
                   (Entered: 03/18/2019)
03/18/2019   104   MOTION for Leave to File Motion to Dismiss with Brief In Support by Allen
                   J. Pendergrass. (Attachments: # 1 Exhibit A, Email to Government Requesting
                   Discovery) (Durrett, Saraliene) (Entered: 03/18/2019)
03/19/2019         Notification of Docket Correction re 103 Response in Opposition: Filed as to
                   Allen Pendergrass (1) only. (sap) (Entered: 03/19/2019)
03/20/2019         ORDER by docket entry only as to Allen J. Pendergrass: Defendant is
                   DIRECTED to file no later than 1 PM on March 21, 2019 a notice advising the
                   Court and Government if its request for leave to file a Motion to Dismiss Out
                   of Time and Brief In Support would merely entail the Court's and
                   Government's considering Defendant's previously briefed arguments filed by
                   current counsel on behalf of Defendant's request for dismissal based on
                   pre−indictment delay −− or alternatively, whether Defendant is seeking leave
                   to file a new brief. The Court will determine how to proceed and/or if any
                   change in the briefing schedule is warranted accordingly. Ordered by Judge
                   Amy Totenberg on 3/20/19. (hfm) (Entered: 03/20/2019)
03/20/2019   105   NOTICE re 104 MOTION for Leave to File Motion to Dismiss as to Allen J.
                   Pendergrass (Durrett, Saraliene) (Entered: 03/20/2019)
03/25/2019   106   RESPONSE as to Allen J. Pendergrass filed by USA re 104 MOTION for
                   Leave to File Motion to Dismiss (Brown, Jeffrey) Event Modified on 4/8/2019
                   (sap). (Entered: 03/25/2019)
04/01/2019   107   REPLY TO RESPONSE to Motion as to Allen J. Pendergrass filed by Allen J.
                   Pendergrass re: 104 MOTION for Leave to File Motion to Dismiss, 90
                   MOTION to Dismiss on Speedy Trial (Constitutional) (Attachments: # 1
                   Exhibit Fulton Bond Order, # 2 Exhibit Discovery letter, # 3 Exhibit Email re
                   Ohio Attorney, # 4 Exhibit Various emails)(Durrett, Saraliene) (Entered:
                   04/01/2019)
04/02/2019         Submission of 90 MOTION to Dismiss on Speedy Trial (Constitutional), 89
                   MOTION to Dismiss on Speedy Trial (Statutory) as to Allen J. Pendergrass, to
                   District Judge Amy Totenberg. (hfm) (Entered: 04/02/2019)
04/08/2019         Submission of 104 MOTION for Leave to File Motion to Dismiss as to Allen J.
                   Pendergrass (1) to District Judge Amy Totenberg. (sap) (Entered: 04/08/2019)
04/15/2019         NOTICE SCHEDULING HEARING by docket entry only as to Allen J.
                   Pendergrass. Hearing set for 4/30/2019 at 10:30 AM in ATLA Courtroom 2308

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Case 1:17-cr-00224-AT-CMS      Document 292           Filed 09/08/22        Page 15 of 41



                   before Judge Amy Totenberg. (hfm) (Entered: 04/15/2019)
04/17/2019   108   Notice for Leave of Absence for the following date(s): July 3−10, 2019,
                   September 23−27, 2019, by Saraliene Smith Durrett. (Durrett, Saraliene)
                   (Entered: 04/17/2019)
04/24/2019         ORDER (by docket entry only) as to Allen J. Pendergrass: The hearing
                   scheduled for April 30, 2019, will cover all pending motions, including all
                   unresolved evidenciary and discovery issues. By Judge Amy Totenberg on
                   4/24/19. (hfm) (Entered: 04/24/2019)
04/26/2019   109   Minute Entry for proceedings held before Judge Amy Totenberg: Telephone
                   Conference held as to Allen J. Pendergrass (1) on 04/26/2019. The hearing
                   scheduled for Tuesday, April 30, is CANCELLED. Written Orderto follow.
                   (Court Reporter Penny Coudriet) (sap) (Entered: 04/29/2019)
04/29/2019   110   Unopposed MOTION to Continue trial date by Allen J. Pendergrass.
                   (Attachments: # 1 Text of Proposed Order) (Durrett, Saraliene) (Entered:
                   04/29/2019)
04/30/2019         Submission of 110 Unopposed MOTION to Continue trial date as to Allen J.
                   Pendergrass to District Judge Amy Totenberg. (bnp) (Entered: 04/30/2019)
05/01/2019   111   ORDER as to Allen J. Pendergrass (1): The Court DENIES Defendant's 89
                   Motion to Dismiss for Speedy Trial (Statutory) and GRANTS the Defendant's
                   104 Motion for Leave to File Motion to Dismiss Out of Time. The Defendant's
                   90 Motion to Dismiss on Speedy Trial (Constitutional) and any other
                   remaining pre−trial matters that may now arise are REFERRED back to the
                   Magistrate Judge. The Court DE−CERTIFIES this case as it is not ready for
                   trial. Accordingly, the Court will defer scheduling the start date of trial at least
                   until completion of proceedings before the Magistrate Judge and
                   re−certification of the case as ready for trial. Pursuant to 18 U.S.C. §
                   3161(h)(7)(a) and (B)(i) and (iv), the 60−day period between May 20, 2019
                   and July 19, 2019, as requested by Defendant, shall be excluded from the
                   Speedy Trial calculations. Signed by Judge Amy Totenberg on 5/1/2019. (sap)
                   (Entered: 05/02/2019)
05/01/2019         ORDER DECERTIFYING CASE READY FOR TRIAL as to Allen J.
                   Pendergrass (1). Ruled on by Judge Amy Totenberg on 5/1/2019 in the 111
                   Order. (sap) (Entered: 05/02/2019)
05/02/2019         Submission of 90 MOTION to Dismiss on Speedy Trial (Constitutional) and
                   111 Order as to Allen J. Pendergrass (1) to Magistrate Judge Catherine M.
                   Salinas. (sap) (Entered: 05/02/2019)
05/06/2019   112   Unopposed MOTION to Travel outside Jurisdiction to Cincinnati, Ohio May
                   7−10,2019 by Allen J. Pendergrass. (Attachments: # 1 Text of Proposed Order)
                   (Durrett, Saraliene) (Entered: 05/06/2019)
05/07/2019   113   ORDER TEMPORARILY GRANTING the Defendant's 112 Unopposed
                   Motion to Travel outside Jurisdiction as to Allen J. Pendergrass (1). See order
                   for more details. Signed by Magistrate Judge Catherine M. Salinas on
                   5/7/2019. (sap) (Entered: 05/07/2019)
05/07/2019   114   Notice for Leave of Absence for the following date(s): 5/30, 5/31, 6/3, 6/4, 6/5,
                   6/6, 6/7, 7/29, 7/30, 7/31, 8/1, and 8/2/2019, by Jeffrey Aaron Brown. (Brown,

                                                                                                          14
Case 1:17-cr-00224-AT-CMS     Document 292          Filed 09/08/22       Page 16 of 41



                   Jeffrey) (Entered: 05/07/2019)
05/20/2019   115   MOTION to Modify Conditions of Release by Allen J. Pendergrass.
                   (Attachments: # 1 Text of Proposed Order) (Durrett, Saraliene) (Entered:
                   05/20/2019)
05/23/2019   116   ORDER GRANTING 115 Motion to Modify Conditions of Pretrial Release as
                   to Allen J. Pendergrass (1). IT IS HEREBY ORDERED that the defendant be
                   permitted to travel outside of the Northern District of Georgia (to Cincinnati
                   Ohio) for the purpose of visiting his brother. Signed by Magistrate Judge
                   Catherine M. Salinas on 5/23/2019. (btql) (Entered: 05/23/2019)
06/25/2019   117   ORDER as to Allen J. Pendergrass. Pretrial Status Conference set for 7/1/2019
                   at 02:00 PM before Magistrate Judge Catherine M. Salinas. The time from May
                   1, 2019, to and until July 1, 2019, is excluded from the Speedy Trial Act
                   computation on the grounds that the additional time is necessary to afford
                   defendant reasonable time for effective preparation, taking into account the
                   exercise of due diligence. Signed by Magistrate Judge Catherine M. Salinas on
                   6/25/2019. (bnp) (Entered: 06/25/2019)
07/01/2019   118   Minute Entry for proceedings held before Magistrate Judge Catherine M.
                   Salinas: Pretrial Conference as to Allen J. Pendergrass (1) on 07/01/2019. The
                   parties shall have until August 1, 2019 to file any additional motions and the
                   Pretrial Conference is continued for August 7, 2019 at 9:30 a.m. in Courtroom
                   1810. This extension is necessary for effective preparation. The delay
                   occasioned by this extension shall be considered a period of excludable delay
                   pursuant to 18 U.S.C.§3161(h)(7)(A) because the court found it needed to
                   allow reasonable time for preparation and also found that the ends of justice
                   served thereby outweigh the interests of the public and the defendant in a
                   speedy trial. The defendant's 90 Motion to Dismiss for Speedy Trial is TAKEN
                   UNDER ADVISEMENT. (Tape #FTR) (sap) (Entered: 07/01/2019)
07/31/2019   119   Unopposed MOTION to Continue pretrial motions deadline and pretrial
                   conference by Allen J. Pendergrass. (Attachments: # 1 Text of Proposed Order)
                   (Durrett, Saraliene) (Entered: 07/31/2019)
08/01/2019   120   ORDER granting 119 Motion for Continuance of pretrial motions deadline and
                   pretrial conference as to Allen J. Pendergrass (1). Defendant shall have up to
                   and including September 3, 2019, in which to file any and all pretrial motions.
                   The pretrial conference in this matter is RESCHEDULED for September 6,
                   2019 at 9:30 a.m. The time in between July 29, 2019 and September 6, 2019
                   shall be excluded from the Speedy Trial calculations. Signed by Magistrate
                   Judge Catherine M. Salinas on 8/1/19. (bnp) (Entered: 08/01/2019)
08/16/2019   121   Notice for Leave of Absence for the following date(s): September 20, 2019,
                   October 16−21, 2019, November 26−29, 2019, December 23− 27, 2019, and
                   January 30−31, 2020, by Teresa Marie Stolze. (Stolze, Teresa) (Entered:
                   08/16/2019)
08/27/2019         Documents 122−123 are sealed. (ddm) (Entered: 08/27/2019)
08/30/2019   124   Unopposed MOTION for Extension of Time to File Motions and MOTION to
                   Continue Pretrial Conference by Allen J. Pendergrass. (Attachments: # 1 Text
                   of Proposed Order) (Durrett, Saraliene). Added MOTION for Extension of
                   Time on 9/3/2019 (bnp). (Entered: 08/30/2019)


                                                                                                     15
Case 1:17-cr-00224-AT-CMS     Document 292          Filed 09/08/22        Page 17 of 41



09/04/2019   125   ORDER granting 124 Motion for Extension of Time to File Motions and for
                   Continuance of Pretrial Conference as to Allen J. Pendergrass. Defendant shall
                   have up to and including October 7, 2019, in which to file any and all pretrial
                   motions. The pretrial conference in this matter is RESCHEDULED for October
                   10, 2019 at 9:30 a.m. The time in between August 30, 2019 and October 10,
                   2019 shall be excluded from the Speedy Trial calculations. Signed by
                   Magistrate Judge Catherine M. Salinas on 9/4/19. (bnp) (Entered: 09/04/2019)
09/18/2019   126   Notice for Leave of Absence for the following date(s): October 14, 2019 to
                   October 15, 2019, October 18, 2019, November 25, 2019 to November 29,
                   2019, December 23, 2019 to December 27, 2019, February 17, 2019, March
                   16, 2019, and April 6, 2019 to April 10, 2019, by Jeffrey Aaron Brown.
                   (Brown, Jeffrey) (Entered: 09/18/2019)
09/26/2019   128   MOTION for Issuance of Rule 17c Subpoena to Fulton County District
                   Attorney's Office by Allen J. Pendergrass. (Durrett, Saraliene) (Entered:
                   09/26/2019)
09/26/2019   129   MOTION for Issuance of Rule 17c Subpoena to Atlanta Police Department by
                   Allen J. Pendergrass. (Durrett, Saraliene) (Entered: 09/26/2019)
10/07/2019   130   MOTION for Bill of Particulars by Allen J. Pendergrass. (Durrett, Saraliene)
                   (Entered: 10/07/2019)
10/07/2019   131   MOTION to Dismiss Counts Allen J. Pendergrass (1) Count 6 by Allen J.
                   Pendergrass. (Durrett, Saraliene) (Entered: 10/07/2019)
10/07/2019   132   MOTION for Reconsideration re 52 Order on Motion to Suppress Evidence,,,,
                   Order on Report and Recommendation, 47 Report and Recommendation, Order
                   Certifying Case Ready for Trial by Allen J. Pendergrass. (Durrett, Saraliene)
                   (Entered: 10/07/2019)
10/10/2019   133   ORDER granting 129 Motion for Issuance of Rule 17c Subpoena to Atlanta
                   Police Department as to Allen J. Pendergrass (1). Signed by Magistrate Judge
                   Catherine M. Salinas on 10/10/19. (bnp) (Entered: 10/10/2019)
10/10/2019   134   ORDER granting 128 Motion for Issuance of Rule 17c Subpoena to Fulton
                   County District Attorney's Office as to Allen J. Pendergrass (1). Signed by
                   Magistrate Judge Catherine M. Salinas on 10/10/19. (bnp) (Entered:
                   10/10/2019)
10/10/2019   135   Minute Entry for proceedings held before Magistrate Judge Catherine M.
                   Salinas: Pretrial Conference as to Allen J. Pendergrass. 90 Motion to
                   Dismiss/Speedy Trial TAKEN UNDER ADVISEMENT. Any supplement to
                   the motion by the defendant is to be filed by November 15, 2019. 130 Motion
                   for Bill of Particulars TAKEN UNDER ADVISEMENT. The Government is to
                   respond to the motion by November 1, 2019. Any reply by the defendant to the
                   governments response is due by November 15, 2019. 131 Motion to Dismiss
                   Counts DEFERRED. The Government is to respond to the motion by
                   November 1, 2019. Any reply by the defendant to the governments response is
                   due by November 15, 2019. (Tape #FTR) (bnp) (Entered: 10/17/2019)
10/15/2019         ORDER by docket entry only: In light of Defendants change of counsel and the
                   circumstances of such, the Court GRANTS Defendants Motion to Reconsider
                   Order Denying Motion to Suppress Evidence (Doc. 132) and authorizes


                                                                                                     16
Case 1:17-cr-00224-AT-CMS     Document 292          Filed 09/08/22       Page 18 of 41



                   Defendants filing of objections to Courts Order regarding Defendants Motion
                   to Suppress Evidence (Doc. 52) and adopting the underlying Magistrate Judges
                   Report & Recommendation (Doc. 47) in connection with the subject motion
                   (Docs. 26, 40). By Judge Amy Totenberg on 10/15/19. (hfm) (Entered:
                   10/15/2019)
10/24/2019   136   Notice for Leave of Absence for the following date(s): February 3−7, 2020,
                   May 25−29, 2020, by Saraliene Durrett. (Durrett, Saraliene) (Entered:
                   10/24/2019)
11/01/2019   137   OBJECTIONS TO 47 REPORT AND RECOMMENDATION as to Allen J.
                   Pendergrass filed by Allen J. Pendergrass (Durrett, Saraliene) (Entered:
                   11/01/2019)
11/01/2019   138   RESPONSE in Opposition as to Allen J. Pendergrass, Terrell McQueen filed
                   by USA re 130 MOTION for Bill of Particulars (Brown, Jeffrey) (Entered:
                   11/01/2019)
11/01/2019   139   RESPONSE in Opposition as to Allen J. Pendergrass, Terrell McQueen filed
                   by USA re 131 MOTION to Dismiss Counts Allen J. Pendergrass (1) Count 6
                   (Brown, Jeffrey) (Entered: 11/01/2019)
11/04/2019   140   Government's Bill of Particulars as to Allen J. Pendergrass, Terrell McQueenby
                   USA. (Brown, Jeffrey) (Entered: 11/04/2019)
11/13/2019   141   Unopposed MOTION to Extend deadline to file supplement to motion (doc. 90
                   ) (30 days) by Allen J. Pendergrass. (Attachments: # 1 Text of Proposed Order)
                   (Durrett, Saraliene) Modified on 11/14/2019 to edit event type (bnp). (Entered:
                   11/13/2019)
11/15/2019   142   ORDER granting 141 Unopposed Motion for Extension of Time as to Allen J.
                   Pendergrass (1). Defendant shall have up to and including December 16, 2019,
                   in which to file the supplement. The time in between November 13, 2019 and
                   December 16, 2019 shall be excluded from the Speedy Trial calculations.
                   Signed by Magistrate Judge Catherine M. Salinas on 11/15/19. (bnp) (Entered:
                   11/15/2019)
12/16/2019   143   Supplemental Brief re: 90 MOTION to Dismiss on Speedy Trial
                   (Constitutional) as to Allen J. Pendergrass filed by Allen J. Pendergrass
                   (Attachments: # 1 Exhibit F Projected Release Date, # 2 Exhibit G RRC denial,
                   # 3 Exhibit H Email regarding meeting, # 4 Exhibit I Fulton email, # 5 Exhibit
                   J Fulton email, # 6 Exhibit K APD email, # 7 Exhibit L Cyber attack
                   email)(Durrett, Saraliene) (Entered: 12/16/2019)
01/21/2020   144   Notice for Leave of Absence for the following date(s): February 3−7, 2020,
                   April 1−3, 2020, May 25−29, 2020, by Saraliene Durrett. (Durrett, Saraliene)
                   (Entered: 01/21/2020)
01/21/2020   145   ORDER as to Allen J. Pendergrass re 90 MOTION to Dismiss. Oral argument
                   is set for Wednesday, February 5, 2020, at 10 a.m. At that hearing, the
                   government should be prepared to advise the Court regarding: when it learned
                   that Fulton County did not intend to pursue a case against Mr. Pendergrass; the
                   date that that government received the file from the state law enforcement
                   officers; and whether the government was aware in November 2016 that Mr.
                   Pendergrass would not be allowed to go to a halfway house because of pending


                                                                                                     17
Case 1:17-cr-00224-AT-CMS      Document 292          Filed 09/08/22       Page 19 of 41



                   charges in the Fulton County. Both sides should be prepared to address
                   whether any court has done what Mr. Pendergrass asks this Court to do, i.e.,
                   determine that his Sixth Amendment speedy trial rights attached at the time he
                   was arrested by state law enforcement officers on state charges. Counsel should
                   also be prepared to discuss the Fifth Amendment due process issues,
                   particularly the caselaw cited in the briefs. Signed by Magistrate Judge
                   Catherine M. Salinas on 1/21/2020. (bnp) (Entered: 01/21/2020)
01/22/2020   146   NON−FINAL REPORT AND RECOMMENDATION as to Allen J.
                   Pendergrass: RECOMMENDING that Defendant's 131 motion to dismiss
                   Count Six be DENIED. Signed by Magistrate Judge Catherine M. Salinas on
                   1/22/2020. (bnp) (Entered: 01/22/2020)
01/22/2020         ORDER as to Allen J. Pendergrass (1): Defendant's 73 Amended Motion for
                   404(b) Information is DEFERRED to the district judge. Defendant's 130
                   motion for a bill of particulars is DENIED. Ruled on by Magistrate Judge
                   Catherine M. Salinas on 1/22/2020 within the 146 R&R. (bnp) (Entered:
                   01/22/2020)
01/22/2020   147   ORDER for Service of 146 Report and Recommendation by Magistrate Judge
                   Catherine M. Salinas as to Allen J. Pendergrass. Each party may file written
                   objections to the Report & Recommendation within 14 days of service. If no
                   objections are filed, the Report & Recommendation may be adopted as the
                   opinion and order of the District Court. Signed by Magistrate Judge Catherine
                   M. Salinas on 1/22/2020. (bnp) (Entered: 01/22/2020)
02/10/2020         Submission of 146 REPORT AND RECOMMENDATION as to Allen J.
                   Pendergrass to District Judge Amy Totenberg. (bnp) (Entered: 02/10/2020)
02/12/2020   148   ORDER adopting the 146 Report and Recommendation as to Allen J.
                   Pendergrass (1) as the opinion of this Court. For the reasons stated in the
                   Magistrate Judge's Report and Recommendation, the Court DENIES
                   Defendant's 131 Motion to Dismiss Count Six. Signed by Judge Amy
                   Totenberg on 2/12/2020. (bnp) (Entered: 02/12/2020)
02/13/2020   149   ORDER as to Allen J. Pendergrass. For good cause shown, the oral argument
                   on the defendant's 90 motion to dismiss is rescheduled to February 26, 2020, at
                   10:00 a.m. The time from February 5, 2020, to and until February 26, 2020, is
                   excluded from the Speedy Trial Act computation Signed by Magistrate Judge
                   Catherine M. Salinas on 2/13/2020. (bnp) (Entered: 02/13/2020)
02/24/2020   150   Notice for Leave of Absence for the following date(s): April 1−6, 2020, April
                   10−12, 2020, April 28, 2020 − May 11, 2020, June 30, 2020 − July 6, 2020,
                   September 28, 2020 − October 2, 2020, November 23−27, 2020, by Teresa
                   Marie Stolze. (Stolze, Teresa) (Entered: 02/24/2020)
02/26/2020   151   Minute Entry for proceedings held before Magistrate Judge Catherine M.
                   Salinas: Motion Hearing as to Allen J. Pendergrass (1). 90 Motion to
                   Dismiss/Speedy Trial TAKEN UNDER ADVISEMENT. (Court Reporter
                   Andy Ashley) (bnp) (Entered: 02/26/2020)
03/16/2020   152   FINAL REPORT AND RECOMMENDATION as to Allen J. Pendergrass.
                   The Court recommends that Pendergrass's 90 Motion to Dismiss Indictment be
                   DENIED. Signed by Magistrate Judge Catherine M. Salinas on 3/16/2020.
                   (bnp) (Entered: 03/16/2020)


                                                                                                     18
Case 1:17-cr-00224-AT-CMS     Document 292          Filed 09/08/22       Page 20 of 41



03/16/2020         ORDER CERTIFYING CASE READY FOR TRIAL as to Allen J.
                   Pendergrass. Ruled on by Magistrate Judge Catherine M. Salinas on 3/16/2020
                   within the 152 R&R. (bnp) (Entered: 03/16/2020)
03/16/2020   153   ORDER for Service of 152 Report and Recommendation by Magistrate Judge
                   Catherine M. Salinas as to Allen J. Pendergrass. Each party may file written
                   objections to the Report & Recommendation within 14 days of service. If no
                   objections are filed, the Report & Recommendation may be adopted as the
                   opinion and order of the District Court. Signed by Magistrate Judge Catherine
                   M. Salinas on 3/16/2020. (bnp) (Entered: 03/16/2020)
03/17/2020   154   NOTICE OF ATTORNEY APPEARANCE Tracia M. King appearing for
                   USA. (King, Tracia) (Entered: 03/17/2020)
03/23/2020   155   General Order 20−01 re: COURT OPERATIONS UNDER THE EXIGENT
                   CIRCUMSTANCES CREATED BY COVID−19 AND RELATED
                   CORONAVIRUS. The time period of the continuances implemented by this
                   General Order will be excluded under the Speedy Trial Act. Signed by Judge
                   Thomas W. Thrash, Jr. on 3/16/2020. (bnp) (Entered: 03/23/2020)
03/30/2020   156   OBJECTIONS TO 152 REPORT AND RECOMMENDATION as to Allen J.
                   Pendergrass filed by Allen J. Pendergrass (Durrett, Saraliene) (Entered:
                   03/30/2020)
04/01/2020   157   Amended General Order 20−01 re COURT OPERATIONS UNDER THE
                   EXIGENT CIRCUMSTANCES CREATED BY COVID−19 AND RELATED
                   CORONA VIRUS. Signed by Judge Thomas W. Thrash, Jr. on 3/30/20. as to
                   Allen J. Pendergrass, Terrell McQueen (rvb) (ADI) (Entered: 04/01/2020)
04/03/2020         Submission of 152 REPORT AND RECOMMENDATION as to Allen J.
                   Pendergrass to District Judge Amy Totenberg. (bnp) (Entered: 04/03/2020)
04/10/2020   158   TRANSCRIPT of the Motion Hearing Proceedings as to Allen J. Pendergrass
                   held on February 26, 2020, before Judge Catherine M. Salinas. Court
                   Reporter/Transcriber Andy Ashley. A full directory of court reporters and their
                   contact information can be found at
                   www.gand.uscourts.gov/directory−court−reporters. Redaction Request due
                   5/1/2020. Redacted Transcript Deadline set for 5/11/2020. Release of
                   Transcript Restriction set for 7/9/2020. (Attachments: # 1 Notice of Filing of
                   Official Transcript) (kac) (Entered: 04/10/2020)
05/04/2020   159   SECOND AMENDMENT TO GENERAL ORDER 20−01 RE: COURT
                   OPERATIONS UNDER THE EXIGENT CIRCUMSTANCES CREATED BY
                   COVID−19 AND RELATED CORONAVIRUS. The time period of the
                   continuances implemented by this General Order will be excluded under the
                   Speedy Trial Act. Signed by Judge Thomas W. Thrash, Jr. on 4/30/2020. (bnp)
                   (Entered: 05/04/2020)
05/26/2020   160   THIRD AMENDMENT TO GENERAL ORDER 20−01 RE: COURT
                   OPERATIONS UNDER THE EXIGENT CIRCUMSTANCES CREATED BY
                   COVID−19 AND RELATED CORONAVIRUS. The time period of the
                   continuances implemented by this General Order will be excluded under the
                   Speedy Trial Act. Signed by Judge Thomas W. Thrash, Jr. on 5/26/2020. (bnp)
                   (Entered: 05/26/2020)



                                                                                                     19
Case 1:17-cr-00224-AT-CMS     Document 292         Filed 09/08/22      Page 21 of 41



06/10/2020   161   Notice for Leave of Absence for the following date(s): September 28−30,
                   2020, October 7−9, 2020, November 10−13, 2020, November 23−30, 2020,
                   December 1, 2020, by Saraliene Durrett. (Durrett, Saraliene) (Entered:
                   06/10/2020)
07/01/2020   162   FOURTH AMENDMENT TO GENERAL ORDER 20−01 RE: COURT
                   OPERATIONS UNDER THE EXIGENT CIRCUMSTANCES CREATED BY
                   COVID−19 AND RELATED CORONAVIRUS. The time period of the
                   continuances implemented by this General Order will be excluded under the
                   Speedy Trial Act. Signed by Judge Thomas W. Thrash, Jr. on 7/1/2020. (bnp)
                   (Entered: 07/01/2020)
07/13/2020   163   FIFTH AMENDMENT TO GENERAL ORDER 20−01 RE: COURT
                   OPERATIONS UNDER THE EXIGENT CIRCUMSTANCES CREATED BY
                   COVID−19 AND RELATED CORONAVIRUS. The time period of the
                   continuances implemented by this General Order will be excluded under the
                   Speedy Trial Act. Signed by Judge Thomas W. Thrash, Jr. on 7/10/2020. (bnp)
                   (Entered: 07/13/2020)
08/04/2020   164   SIXTH AMENDMENT TO GENERAL ORDER 20−01 RE: COURT
                   OPERATIONS UNDER THE EXIGENT CIRCUMSTANCES CREATED BY
                   COVID−19 AND RELATED CORONAVIRUS. The time period of the
                   continuances implemented by this General Order will be excluded under the
                   Speedy Trial Act. Signed by Judge Thomas W. Thrash, Jr. on 8/3/2020. (bnp)
                   (Entered: 08/04/2020)
08/17/2020   165   MOTION to Modify Conditions of Release for travel outside the district
                   August 20−24, 2020 by Allen J. Pendergrass. (Attachments: # 1 Text of
                   Proposed Order) (Durrett, Saraliene) (Entered: 08/17/2020)
08/18/2020         Submission of 165 MOTION to Modify Conditions of Release for travel
                   outside the district August 20−24, 2020 as to Allen J. Pendergrass to
                   Magistrate Judge Catherine M. Salinas. (bnp) (Entered: 08/18/2020)
08/21/2020   166   ORDER granting 165 Motion to Modify Conditions of Release as to Allen J.
                   Pendergrass (1). Signed by Magistrate Judge Catherine M. Salinas on
                   8/21/2020. (bnp) (Entered: 08/21/2020)
09/02/2020   167   SEVENTH AMENDMENT TO GENERAL ORDER 20−01 RE: COURT
                   OPERATIONS UNDER THE EXIGENT CIRCUMSTANCES CREATED BY
                   COVID19 AND RELATED CORONA VIRUS. The time period of the
                   continuances implemented by this General Order will be excluded under the
                   Speedy Trial Act. Signed by Judge Thomas W. Thrash, Jr. on 09/01/20. (aaq)
                   (Entered: 09/02/2020)
09/29/2020   168   EIGHTH AMENDED ORDER IN RE: COURT OPERATIONS UNDER THE
                   EXIGENT CIRCUMSTANCES CREATED BY COVID−19 AND RELATED
                   CORONAVIRUS. The time period of the continuances implemented by this
                   General Order will be excluded under the Speedy Trial Act. Signed by Judge
                   Thomas W. Thrash, Jr. on 9/28/20. (rlb) (Entered: 09/29/2020)
10/08/2020   169   Notice for Leave of Absence for the following date(s): November 23, 2020
                   through November 27, 2020, December 21, 2020 through January 1, 2020, by
                   Tracia M. King. (King, Tracia) (Entered: 10/08/2020)



                                                                                                 20
Case 1:17-cr-00224-AT-CMS      Document 292          Filed 09/08/22        Page 22 of 41



10/22/2020   170   NOTICE OF FILING Withdrawal of Counsel as to Allen J. Pendergrass,
                   Terrell McQueen filed by USA (Stolze, Teresa) (Entered: 10/22/2020)
12/08/2020   171   NINTH AMENDMENT TO GENERAL ORDER 20−01 RE: COURT
                   OPERATIONS UNDER THE EXIGENT CIRCUMSTANCES CREATED BY
                   COVID−19 AND RELATED CORONAVIRUS. The time period of the
                   continuances implemented by this General Order will be excluded under the
                   Speedy Trial Act as to Allen J. Pendergrass, Terrell McQueen Signed by Judge
                   Thomas W. Thrash, Jr. on 12/8/20. (rlb) (Entered: 12/08/2020)
01/15/2021   172   Notice for Leave of Absence for the following date(s): May 28, 2021; May 31,
                   2021; June 1−4, 2021; July 2−7, 2021, by Saraliene Durrett. (Durrett,
                   Saraliene) (Entered: 01/15/2021)
01/27/2021   173   TENTH AMENDMENT TO GENERAL ORDER 20−01 RE: COURT
                   OPERATIONS UNDER THE EXIGENT CIRCUMSTANCES CREATED BY
                   COVID−19 AND RELATED CORONAVIRUS. The time period of the
                   continuances implemented by this General Order will be excluded under the
                   Speedy Trial Act. Signed by Judge Thomas W. Thrash, Jr. on 01/27/2021.
                   Signed by Judge Thomas W. Thrash, Jr. on 1/27/21. (rlb) (Entered:
                   01/27/2021)
03/01/2021   174   Notice for Leave of Absence for the following date(s): April 5−9, 2021, by
                   Saraliene Durrett. (Durrett, Saraliene) (Entered: 03/01/2021)
03/10/2021   175   ELEVENTH AMENDMENT TO GENERAL ORDER 20−01 RE: COURT
                   OPERATIONS UNDER THE EXIGENT CIRCUMSTANCES CREATED BY
                   COVID−19 AND RELATED CORONAVIRUS. The time period of the
                   continuances implemented by this General Order will be excluded under the
                   Speedy Trial Act. Signed by Judge Thomas W. Thrash, Jr. on 3/9/21. (rlb)
                   (Entered: 03/10/2021)
03/23/2021   176   Notice for Leave of Absence for the following date(s): April 12, 2021 through
                   April 16, 2021, by Tracia M. King. (King, Tracia) (Entered: 03/23/2021)
05/04/2021   177   ORDER as to Allen J. Pendergrass (1): The Court ADOPTS the Magistrate
                   Judge's R&R 152 and DENIES Defendant's Motion to Dismiss Indictment 90 .
                   The Court sets the trial date for defendant Allen J. Pendergrass to begin on
                   August 30, 2021, at 9:30 AM in Courtroom 2308. Voir dire will be held on
                   Friday, August 27, 2021, at 9:30 in Courtroom 2306. The pretrial conference is
                   set for August 18, 2021, at 10:30 AM in Courtroom 2308. By July 14, 2021,
                   the parties are to file any motions in limine and proposed voir dire questions.
                   By July 14, 2021, the Government is to file a summary of the indictment for
                   use in voir dire. By July 28, 2021, the parties are to file any objections to those
                   items listed above. The time from May 4, 2021, to August 30, 2021, shall be
                   excluded from computation under the Speedy Trial Act. Signed by Judge Amy
                   Totenberg on 5/4/21. (rlb) (Entered: 05/04/2021)
06/15/2021   178   Notice for Leave of Absence for the following date(s): June 18, 2021 and from
                   June 23, 2021 through June 25, 2021, by Tracia M. King. (King, Tracia)
                   (Entered: 06/15/2021)
06/15/2021   179   Notice for Leave of Absence for the following date(s): September 27−October
                   1, 2021; November 8−11, 2021, by Saraliene Durrett. (Durrett, Saraliene)
                   (Entered: 06/15/2021)


                                                                                                         21
Case 1:17-cr-00224-AT-CMS     Document 292         Filed 09/08/22       Page 23 of 41



06/15/2021   180   Notice for Leave of Absence for the following date(s): September 27−October
                   1, 2021; November 8−11, 2021, by Saraliene Durrett. (Durrett, Saraliene)
                   (Entered: 06/15/2021)
06/29/2021   181   Notice for Leave of Absence for the following date(s): July 14−20, 2021 and
                   August 12−16, 2021, by Teresa Marie Stolze. (Stolze, Teresa) Modified on
                   6/29/2021 to edit text (rlb). (Entered: 06/29/2021)
06/29/2021   182   NOTICE OF FILING WITHDRAWAL OF COUNSEL as to Allen J.
                   Pendergrass, Terrell McQueen filed by USA (Stolze, Teresa) (Entered:
                   06/29/2021)
07/14/2021   183   MOTION to Continue trial date(opposition is unknown) by Allen J.
                   Pendergrass. (Durrett, Saraliene) (Entered: 07/14/2021)
08/03/2021         Submission of 183 MOTION to Continue trial date(opposition is unknown) as
                   to Allen J. Pendergrass, to District Judge Amy Totenberg. (rlb) (Entered:
                   08/03/2021)
10/12/2021   185   ORDER as to Allen J. Pendergrass. The Court hereby sets the trial date for
                   defendant Allen J. Pendergrass to begin on Monday, November 29, 2021, at
                   9:30 AM in Courtroom 2308, United States Courthouse, 75 Spring Street,
                   S.W., Atlanta, Georgia. The pretrial conference is set for Wednesday,
                   November 17, 2021, at 10:30 AM in Courtroom 2308. SEE ORDER FOR
                   ADDITIONAL DEADLINES AND DIRECTIONS. The time from October
                   12, 2021, to November 29, 2022, shall be excluded from computation under the
                   Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A), (h)(7)(B)(i), and
                   (h)(7)(B)(iv). Signed by Judge Amy Totenberg on 10/12/2021. (tcc) (Entered:
                   10/12/2021)
10/19/2021         Documents 186−187 are sealed. (jpa) (Entered: 10/19/2021)
10/20/2021   188   Notice for Leave of Absence for the following date(s): 11/4/2021, 11/22/2021
                   through 11/26/2021, 12/18/2021 through 12/29/2021, 1/14/2022, 4/4/2022
                   through 4/8/2022, 5/26/2022 through 5/27/2022, 6/13/2022, and 7/4/2022
                   through 7/8/2022, by Jeffrey Aaron Brown. (Brown, Jeffrey) (Entered:
                   10/20/2021)
10/26/2021   190   MOTION in Limine to exclude evidence and for other rulings prior to trial by
                   Allen J. Pendergrass. (Durrett, Saraliene) (Entered: 10/26/2021)
10/26/2021   191   RESPONSE in Opposition as to Allen J. Pendergrass filed by Allen J.
                   Pendergrass re 73 Amended MOTION for (404b) Information of defendant or
                   any co−defendant , 71 MOTION in Limine (Durrett, Saraliene) (Entered:
                   10/26/2021)
10/26/2021   192   MOTION to Conduct Voir Dire and to Show Video regarding Implicit Bias by
                   Allen J. Pendergrass. (Attachments: # 1 Exhibit Proposed Instructions)
                   (Durrett, Saraliene) Modified to edit text on 10/27/2021 (ceo). (Entered:
                   10/26/2021)
10/26/2021   193   Proposed Voir Dire Questions as to Allen J. Pendergrass (Durrett, Saraliene)
                   (Entered: 10/26/2021)
10/27/2021   194   NOTICE of Intent to Offer Business Records Pursuant to FRE 902(11) as to
                   Allen J. Pendergrass filed by USA (Brown, Jeffrey) (Entered: 10/27/2021)


                                                                                                  22
Case 1:17-cr-00224-AT-CMS     Document 292          Filed 09/08/22        Page 24 of 41



11/02/2021         Documents 195−201 are sealed. (cmd) (Entered: 11/02/2021)
11/09/2021         Documents 202−210 are sealed. (jpa) (Entered: 11/09/2021)
11/09/2021   211   RESPONSE in Opposition as to Allen J. Pendergrass filed by USA re 190
                   MOTION in Limine to exclude evidence and for other rulings prior to trial
                   (Brown, Jeffrey) (Entered: 11/09/2021)
11/09/2021   212   Government's Response in Opposition to 192 Defendant's Proposed Voir Dire
                   Questions on Racial Bias and Request to Show Video and to Conduct Voir
                   Dire on This Issue as to Allen J. Pendergrass filed by USA (Brown, Jeffrey)
                   Modified on 11/10/2021 to edit text (rlh). (Entered: 11/09/2021)
11/09/2021   213   Defendant's Response to 194 Notice of Intent to Proceed by Business Records
                   as to Allen J. Pendergrass filed by Allen J. Pendergrass (Attachments: # 1
                   Exhibit Wells Fargo certification, # 2 Exhibit 2018 Postal Service Certification,
                   # 3 Exhibit 2021 Postal Service Certification, # 4 Exhibit Suntrust Bank
                   Certification)(Durrett, Saraliene) Modified on 11/10/2021 to edit text (rlh).
                   (Entered: 11/09/2021)
11/12/2021         Document 215 is sealed. (bgt) (Entered: 11/12/2021)
11/12/2021   216   Proposed Voir Dire Questions as to Allen J. Pendergrass by USA. (Brown,
                   Jeffrey) (Entered: 11/12/2021)
11/15/2021   217   Supplemental Motion in Limine filed by Allen J. Pendergrass (Durrett,
                   Saraliene) Modified on 11/16/2021 to correct docket text (adg). (Entered:
                   11/15/2021)
11/15/2021   218   MOTION to permit property and technology in the courthouse by Allen J.
                   Pendergrass. (Attachments: # 1 Text of Proposed Order) (Durrett, Saraliene)
                   Modified on 11/16/2021 (adg). (Entered: 11/15/2021)
11/15/2021   219   Notice for Leave of Absence for the following date(s): January 14,
                   2022,February 21− March 1, 2022, April 4−8, 2022, by Saraliene Durrett.
                   (Durrett, Saraliene) (Entered: 11/15/2021)
11/15/2021         Document 220 is sealed. (rjc) (Entered: 11/16/2021)
11/16/2021   221   ORDER granting 218 Motion to Bring Audio/Visual/Electronic Equipment and
                   boxees of trial documents in the Courtroom on 11/29/2021 through the end of
                   trial as to Allen J. Pendergrass (1). Signed by Judge Amy Totenberg on
                   11/16/2021. (adg) (Entered: 11/16/2021)
11/16/2021         Submission of 190 MOTION in Limine to exclude evidence and for other
                   rulings prior to trial , 192 MOTION to Allow Participation in Voir Dire
                   regarding Implicit Bias and to Play Video, 217 Supplemental Motion in
                   Limine as to Allen J. Pendergrass, to District Judge Amy Totenberg. (adg)
                   (Entered: 11/16/2021)
11/17/2021   222   Minute Entry for proceedings held before Judge Amy Totenberg: Pretrial
                   Conference as to Allen J. Pendergrass. (Court Reporter Shannon Welch) (adg)
                   (Entered: 11/17/2021)
11/18/2021         Document 214 is sealed. (cmd) (Entered: 11/18/2021)
11/18/2021         Document 224 is sealed. (bgt) (Entered: 11/19/2021)


                                                                                                       23
Case 1:17-cr-00224-AT-CMS     Document 292          Filed 09/08/22       Page 25 of 41



11/19/2021         Documents 225−226 are sealed. (jpa) (Entered: 11/19/2021)
11/19/2021   227   ORDER granting in part and denying in part 71 Motion in Limine as to Allen J.
                   Pendergrass (1); granting in part and denying in part 73 Motion for Information
                   Regarding Prior Crimes, Wrongs, and Bad Acts(404b). as to Allen J.
                   Pendergrass (1. Signed by Judge Amy Totenberg on 11/19/2021. (amb)
                   (Entered: 11/19/2021)
11/23/2021   228   TRANSCRIPT of Pretrial Conference Proceedings as to Allen J. Pendergrass
                   held on 11/17/2021, before Judge Amy Totenberg. Court Reporter/Transcriber
                   Shannon R. Welch, RMR, CRR. A full directory of court reporters and their
                   contact information can be found at
                   www.gand.uscourts.gov/directory−court−reporters. Redaction Request due
                   12/14/2021. Redacted Transcript Deadline set for 12/27/2021. Release of
                   Transcript Restriction set for 2/22/2022. (Attachments: # 1 Notice of Filing)
                   (srw) (Entered: 11/23/2021)
11/24/2021   229   Proposed Jury Instructions as to Allen J. Pendergrass (Durrett, Saraliene)
                   (Entered: 11/24/2021)
11/24/2021   230   Proposed Special Verdict Form as to Allen J. Pendergrass (Durrett, Saraliene)
                   (Entered: 11/24/2021)
11/24/2021   238   Return of Service Unexecuted re Joseph Outland as to Allen J. Pendergrass
                   (rlh) (Entered: 11/29/2021)
11/24/2021   239   Return of Service Executed on 11/18/2021 re Earl Glenn as to Allen J.
                   Pendergrass (rlh) (Entered: 11/29/2021)
11/27/2021   232   Amended Proposed Special Verdict Form as to Allen J. Pendergrass (Durrett,
                   Saraliene) (Entered: 11/27/2021)
11/27/2021   233   NOTICE OF FILING notice of intent to object to business records containing
                   double hearsay as to Allen J. Pendergrass, Terrell McQueen filed by Allen J.
                   Pendergrass (Durrett, Saraliene) (Entered: 11/27/2021)
11/27/2021   234   NOTICE OF FILING CORRECTED notice of intent to object to business
                   records containing double hearsay as to Allen J. Pendergrass (Attachments: # 1
                   Exhibit Post Office Box Application)(Durrett, Saraliene) (Entered: 11/27/2021)
11/27/2021   235   MOTION for Reconsideration re 227 Order on Motion in Limine,, Order on
                   Motion for Information Regarding Prior Crimes, Wrongs, and Bad
                   Acts(404b)., by Allen J. Pendergrass. (Attachments: # 1 Exhibit, # 2 Exhibit, #
                   3 Exhibit, # 4 Exhibit, # 5 Exhibit) (Durrett, Saraliene) (Entered: 11/27/2021)
11/28/2021   236   Requests to Charge as to Allen J. Pendergrass, Terrell McQueen filed by USA
                   (Brown, Jeffrey) (Entered: 11/28/2021)
11/28/2021   237   Proposed Special Verdict Form as to Allen J. Pendergrass, Terrell McQueen
                   filed by USA (Brown, Jeffrey) (Entered: 11/28/2021)
11/29/2021   240   Minute Entry for proceedings held before Judge Amy Totenberg: Jury Trial as
                   to Allen J. Pendergrass began on 11/29/2021. Jury Selection Only, continued.
                   (Court Reporter Shannon Welch) (adg) (Entered: 11/30/2021)
11/30/2021   242   Minute Entry for proceedings held before Judge Amy Totenberg: Jury Trial as
                   to Allen J. Pendergrass continued on 11/30/2021. Witnesses sworn and

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Case 1:17-cr-00224-AT-CMS     Document 292         Filed 09/08/22       Page 26 of 41



                   testified; Government Exhibits 1−6, 7, 11 through 18, 19A, 19B, 19C, 19D, 20
                   admitted. Hearing not concluded.Exhibits retained to be forwarded to the
                   Clerks Office. (Court Reporter Shannon Welch) (adg) (Entered: 12/01/2021)
11/30/2021   252   Government's WITNESS LIST as to Allen J. Pendergrass filed by USA. (ceo)
                   (Entered: 12/07/2021)
11/30/2021   253   Government EXHIBIT LIST as to Allen J. Pendergrass filed by USA (ceo)
                   (Entered: 12/07/2021)
11/30/2021   254   Updated EXHIBIT LIST as to Allen J. Pendergrass (ceo) (Entered:
                   12/07/2021)
12/01/2021   244   Minute Entry for proceedings held before Judge Amy Totenberg: Jury Trial
                   held as to Allen J. Pendergrass held on 12/1/2021. In Camera Voir Dire of
                   Govt. witness Michael Cohen. Witness sworn. Government Case In Chief
                   continues. Michael Cohen sworn and testified. Terrell McQueen sworn and
                   testified. Hearing not concluded. Court adjourned and will reconvene at 09:30
                   AM on Thursday, December 2, 2021. Exhibits retained to be forwarded to the
                   Clerks Office. (Court Reporter Shannon Welch) (ceo) (Entered: 12/02/2021)
12/02/2021   243   Notice for Leave of Absence for the following date(s): December 13, 2021
                   through December 24, 2021, by Tracia M. King. (King, Tracia) (Entered:
                   12/02/2021)
12/02/2021   248   Minute Entry for proceedings held before Judge Amy Totenberg: Jury Trial as
                   to Allen J. Pendergrass held on 12/2/2021. Testimony of Terrell McQueen
                   continues. Government Exhibit 31, 40, 41, 46 admitted. Defendant Exhibits 7c,
                   7d, 10, 12a, 21, 25, 32, 35, 36, 37, 39 admitted. Wesley Cooper sworn and
                   testified. Government Exhibit 21, 23, 24, 26 admitted. Government rests Case
                   in Chief. Defendant Oral Motion for Acquittal taken under advisement.
                   Defense Case In Chief. Jane Holms sworn and testified. Hearing not
                   concluded. Court adjourned and will reconvene at 09:00 AM on Friday,
                   December 3, 2021. Jurors excused until the above time under the usual caution
                   of the Court. Exhibits retained to be forwarded to the Clerks Office. (Court
                   Reporter Shannon Welch) (bgt) (Entered: 12/03/2021)
12/02/2021         ORAL MOTION for Judgment of Acquittal (found in 248 minutes) by Allen J.
                   Pendergrass. (bgt) (Entered: 12/03/2021)
12/03/2021   245   Defendant's Supplemental Request to Charge as to Allen J. Pendergrass
                   (Durrett, Saraliene) Modified on 12/6/2021 to add text (rlh). (Entered:
                   12/03/2021)
12/03/2021   246   Third Proposed Special Verdict Form as to Allen J. Pendergrass (Previously
                   submitted by email) (Durrett, Saraliene) (Entered: 12/03/2021)
12/03/2021   247   Supplemental Brief re: 246 Proposed Special Verdict Form as to Allen J.
                   Pendergrass filed by USA (Brown, Jeffrey) (Entered: 12/03/2021)
12/03/2021   249   Minute Entry for proceedings held before Judge Amy Totenberg: Jury Trial as
                   to Allen J. Pendergrass held on 12/3/2021. Charge Conference held. Defense
                   renews Oral Motion for Judgment of Acquittal − DENIED. Defendant rests
                   Case in Chief. Closing Arguments. Jury Deliberations begin. Jury Verdict. 190
                   Motion in Limine, 192 Motion to Allow Participation in Voir Dire, 217 Motion
                   in Limine, and 235 Motion for Reconsideration TERMINATED.(Exhibits

                                                                                                   25
Case 1:17-cr-00224-AT-CMS      Document 292          Filed 09/08/22        Page 27 of 41



                   retained to be forwarded to the Clerks Office.) (Court Reporter Shannon
                   Welch) (rlh) (Entered: 12/06/2021)
12/03/2021   250   JURY VERDICT as to Allen J. Pendergrass (1) Guilty on Count 1−5,6,7−10.
                   (ceo) (Entered: 12/07/2021)
12/03/2021   251   NOTICE OF SENTENCING Set as to Allen J. Pendergrass: Sentencing set for
                   3/10/2022 at 02:30 PM in ATLA Courtroom 2308 before Judge Amy
                   Totenberg. (ceo) (Entered: 12/07/2021)
12/07/2021   255   Defendant's Exhibits Audio/Video admitted and retained at the 240 Jury Trial,
                   242 Jury Trial, 244 Jury Trial, 248 Jury Trial, 249 Jury Trial, as to Allen J.
                   Pendergrass have been received from Courtroom Deputy and placed in the
                   custody of the Records Clerks. (Attachments: # 1 Exhibit DE #10)(ceo)
                   (Entered: 12/07/2021)
12/08/2021   256   Defendant's EXHIBITS admitted and retained at the 240 Jury Trial, 242 Jury
                   Trial, 244 Jury Trial, 248 Jury Trial, 249 Jury Trial as to Allen J. Pendergrass
                   have been received from Courtroom Deputy and placed in the custody of the
                   Records Clerks. (Attachments: # 1 Exhibit DE #7C, # 2 Exhibit DE #7D, # 3
                   Exhibit DE #9C, # 4 Exhibit DE #10E, # 5 Exhibit DE #12A, # 6 Exhibit DE
                   #21, # 7 Exhibit DE #21A, # 8 Exhibit DE #21B, # 9 Exhibit DE #22C, # 10
                   Exhibit DE #25, # 11 Exhibit DE #32, # 12 Exhibit DE #33, # 13 Exhibit DE
                   #35, # 14 Exhibit DE #36, # 15 Exhibit DE #37, # 16 Exhibit DE #39)(ceo)
                   (Entered: 12/08/2021)
12/08/2021   257   NOTICE TO COUNSEL OF RECORD regarding RECLAMATION AND
                   DISPOSITION OF UNCLAIMED Documentary EXHIBITS pursuant to Local
                   Rule 79.1D. Re: 256 Exhibits. (ceo) (Entered: 12/08/2021)
12/08/2021   258   Government EXHIBITS admitted and retained at the 240 Jury Trial, 242 Jury
                   Trial, 244 Jury Trial, 248 Jury Trial, 249 Jury Trial as to Allen J. Pendergrass
                   have been received from Courtroom Deputy and placed in the custody of the
                   Records Clerks. (Attachments: # 1 Exhibit GE #1, # 2 Exhibit GE #2, # 3
                   Exhibit GE #3, # 4 Exhibit GE #4, # 5 Exhibit GE #5, # 6 Exhibit GE #6, # 7
                   Exhibit GE #7, # 8 Exhibit GE #9, # 9 Exhibit GE #10, # 10 Exhibit GE #11, #
                   11 Exhibit GE #12, # 12 Exhibit GE #13, # 13 Exhibit GE #14, # 14 Exhibit
                   GE #15, # 15 Exhibit GE #16, # 16 Exhibit GE #17, # 17 Exhibit GE #18, # 18
                   Exhibit GE #19A, # 19 Exhibit GE #19B, # 20 Exhibit GE #19C, # 21 Exhibit
                   GE #19D, # 22 Exhibit GE #20 (PART 1), # 23 Exhibit GE #20 (PART 2), #
                   24 Exhibit GE #21, # 25 Exhibit GE #22, # 26 Exhibit GE #23, # 27 Exhibit
                   GE #24, # 28 Exhibit GE #25, # 29 Exhibit GE #26, # 30 Exhibit GE #31, # 31
                   Exhibit GE #32, # 32 Exhibit GE #34, # 33 Exhibit GE #35, # 34 Exhibit GE
                   #36, # 35 Exhibit GE #37, # 36 Exhibit GE #38, # 37 Exhibit GE #39, # 38
                   Exhibit GE #40, # 39 Exhibit GE #41, # 40 Exhibit GE #42, # 41 Exhibit GE
                   #43, # 42 Exhibit GE #44, # 43 Exhibit GE #46)(ceo) (Entered: 12/08/2021)
12/08/2021   259   NOTICE TO COUNSEL OF RECORD regarding RECLAMATION AND
                   DISPOSITION OF UNCLAIMED Documentary EXHIBITS pursuant to Local
                   Rule 79.1D. Re: 258 Exhibits.(ceo) (Entered: 12/08/2021)
12/08/2021   260   ORDER MODIFYING Conditions of Bond as to Allen J. Pendergrass. SEE
                   ORDER FOR MODIFIED CONDITIONS. It is ORDERED that the Clerk
                   serve a copy of this order modifying conditions of bond upon Defendant, the
                   Probation Officer of the Court, the United States Attorney, and the United

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Case 1:17-cr-00224-AT-CMS     Document 292          Filed 09/08/22        Page 28 of 41



                   States Marshal. Signed by Judge Amy Totenberg on 12/8/2021. (tcc) (Entered:
                   12/09/2021)
12/10/2021   261   Opposed MOTION for Extension of Time to file Rule 29 or Rule 33 motion by
                   Allen J. Pendergrass. (Durrett, Saraliene) Modified on 12/13/2021 to edit text
                   (rlh). (Entered: 12/10/2021)
12/14/2021         ORDER, by docket entry only, granting 261 Motion for Extension of Time,
                   through and including, 30 days beyond the completion of trial transcripts to file
                   any post−trial motion in this case as to Allen J. Pendergrass (1). Entered by
                   Judge Amy Totenberg on 12/14/21. (hfm) (Entered: 12/14/2021)
12/22/2021   262   Notice for Leave of Absence for the following date(s): December 27, 2021
                   through December 31, 2021, by Tracia M. King. (King, Tracia) (Entered:
                   12/22/2021)
01/20/2022   263   TRANSCRIPT of Jury Trial (Volume I of IV) Proceedings as to Allen J.
                   Pendergrass held on 11/30/2021, before Judge Amy Totenberg. Court
                   Reporter/Transcriber Shannon R. Welch, RMR, CRR. A full directory of court
                   reporters and their contact information can be found at
                   www.gand.uscourts.gov/directory−court−reporters. Redaction Request due
                   2/10/2022. Redacted Transcript Deadline set for 2/22/2022. Release of
                   Transcript Restriction set for 4/20/2022. (Attachments: # 1 Notice of Filing)
                   (srw) (Entered: 01/20/2022)
01/20/2022   264   TRANSCRIPT of Jury Trial (Volume II of IV) Proceedings as to Allen J.
                   Pendergrass held on 12/1/2021, before Judge Amy Totenberg. Court
                   Reporter/Transcriber Shannon R. Welch, RMR, CRR. A full directory of court
                   reporters and their contact information can be found at
                   www.gand.uscourts.gov/directory−court−reporters. Redaction Request due
                   2/10/2022. Redacted Transcript Deadline set for 2/22/2022. Release of
                   Transcript Restriction set for 4/20/2022. (Attachments: # 1 Notice of Filing)
                   (srw) (Entered: 01/20/2022)
01/20/2022   265   TRANSCRIPT of Jury Trial (Volume III of IV) Proceedings as to Allen J.
                   Pendergrass held on 12/2/2021, before Judge Amy Totenberg. Court
                   Reporter/Transcriber Shannon R. Welch, RMR, CRR. A full directory of court
                   reporters and their contact information can be found at
                   www.gand.uscourts.gov/directory−court−reporters. Redaction Request due
                   2/10/2022. Redacted Transcript Deadline set for 2/22/2022. Release of
                   Transcript Restriction set for 4/20/2022. (Attachments: # 1 Notice of Filing)
                   (srw) (Entered: 01/20/2022)
01/20/2022   266   TRANSCRIPT of Jury Trial (Volume IV of IV) Proceedings as to Allen J.
                   Pendergrass held on 12/3/2021, before Judge Amy Totenberg. Court
                   Reporter/Transcriber Shannon R. Welch, RMR, CRR. A full directory of court
                   reporters and their contact information can be found at
                   www.gand.uscourts.gov/directory−court−reporters. Redaction Request due
                   2/10/2022. Redacted Transcript Deadline set for 2/22/2022. Release of
                   Transcript Restriction set for 4/20/2022. (Attachments: # 1 Notice of Filing)
                   (srw) (Entered: 01/20/2022)
01/28/2022         Defendant's documentary exhibits 256 from the Jury Trial held November 29,
                   2021, through December 3, 2021, as to Allen J. Pendergrass were destroyed as
                   directed in 257 Exhibit Return Notification (mec) (Entered: 01/28/2022)

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Case 1:17-cr-00224-AT-CMS     Document 292          Filed 09/08/22       Page 29 of 41



01/28/2022         Plaintiff's documentary exhibits 258 from the Jury Trial held November 29,
                   2021, through December 3, 2021, as to Allen J. Pendergrass were destroyed as
                   directed in 259 Exhibit Return Notification (mec) (Entered: 01/28/2022)
02/21/2022   267   RENEWED MOTION for Judgment of Acquittal as to counts 1,2,3,6, 7, and 8
                   by Allen J. Pendergrass. (Durrett, Saraliene) Modified on 2/28/2022 to correct
                   docket text to reflect e−filed document. (adg). (Entered: 02/21/2022)
02/21/2022   268   MOTION for New Trial by Allen J. Pendergrass. (Durrett, Saraliene) (Entered:
                   02/21/2022)
02/28/2022         Notification of Docket Correction re 267 Renewed MOTION for Judgment of
                   Acquittal as to counts 1,2,3,6, 7, and 8. Modified on 2/28/2022 to correct
                   docket text to reflect e−filed document. (adg) (Entered: 02/28/2022)
02/28/2022         Submission of 267 Renewed MOTION for Judgment of Acquittal as to counts
                   1,2,3,6, 7, and 8, 268 MOTION for New Trial as to Allen J. Pendergrass, to
                   District Judge Amy Totenberg. (adg) (Entered: 02/28/2022)
02/28/2022         Document 271 is sealed. (cmd) (Entered: 02/28/2022)
02/28/2022   272   (DOCUMENT FILED IN ERROR) Minute Entry for proceedings held before
                   Judge Amy Totenberg: Sentencing hearing held as to Allen J. Pendergrass.
                   Defendant sentenced as to Count 8. (Court Reporter Shannon Welch) (adg)
                   Modified on 2/28/2022 (adg). (Entered: 02/28/2022)
02/28/2022         Notification of Docket Correction re 272 Sentencing. (DOCUMENT FILED
                   IN ERROR) (adg) (Entered: 02/28/2022)
03/02/2022   274   Unopposed MOTION to Continue sentencing date by Allen J. Pendergrass.
                   (Attachments: # 1 Text of Proposed Order) (Durrett, Saraliene) (Entered:
                   03/02/2022)
03/03/2022         ORDER, by docket entry only, granting 274 Motion for Continuance of
                   Sentencing Hearing as to Allen J. Pendergrass (1). Sentencing re−set for
                   3/31/2022 at 02:30 PM in ATLA Courtroom 2308 before Judge Amy
                   Totenberg. Entered by Judge Amy Totenberg on 3/3/22. (hfm) (Entered:
                   03/03/2022)
03/18/2022   276   RESPONSE as to Allen J. Pendergrass filed by USA re: 267 MOTION to Alter
                   Judgment Renewed MOTION for Judgment of Acquittal as to counts 1,2,3,6,
                   7, and 8 (King, Tracia) (Entered: 03/18/2022)
03/18/2022   277   RESPONSE as to Allen J. Pendergrass filed by USA re: 268 MOTION for
                   New Trial (King, Tracia) (Entered: 03/18/2022)
03/18/2022         Submission of 267 MOTION to Alter Judgment Renewed MOTION for
                   Judgment of Acquittal as to counts 1,2,3,6, 7, and 8, 268 MOTION for New
                   Trial as to Allen J. Pendergrass, to District Judge Amy Totenberg. (hfm)
                   (Entered: 03/18/2022)
03/21/2022         NOTICE RESCHEDULING SENTENCING HEARING by docket entry only
                   as to Allen J. Pendergrass. Sentencing re−set for 5/3/2022 at 02:30 PM in
                   ATLA Courtroom 2308 before Judge Amy Totenberg. (hfm) (Entered:
                   03/21/2022)
04/18/2022   278

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Case 1:17-cr-00224-AT-CMS     Document 292         Filed 09/08/22       Page 30 of 41



                   Notice for Leave of Absence for the following date(s): July 21−22, 2022, July
                   29, 2022, August 1−5, 2022, August 8, 2022,September 25−30, 2022, by
                   Saraliene Durrett. (Durrett, Saraliene) (Entered: 04/18/2022)
04/19/2022   279   Notice for Leave of Absence for the following date(s): June 10−17, 2022, July
                   1−5, 2022, October 21−23, 2022, November 23−25, 2022, December 23,
                   2022− January 3, 2023, by Sydney Rene Strickland. (Strickland, Sydney)
                   (Entered: 04/19/2022)
04/21/2022   280   Unopposed MOTION to Continue sentencing date by Allen J. Pendergrass.
                   (Attachments: # 1 Text of Proposed Order) (Durrett, Saraliene) (Entered:
                   04/21/2022)
04/22/2022         ORDER, by docket entry only,granting 280 Motion for Continuance of
                   Sentencing Hearing as to Allen J. Pendergrass (1). Sentencing re−set for
                   6/23/2022 at 02:30 PM in ATLA Courtroom 2308 before Judge Amy
                   Totenberg. Entered by Judge Amy Totenberg on 4/22/22. (hfm) (Entered:
                   04/22/2022)
05/31/2022   281   MOTION to Travel outside Jurisdiction to Indianapolis, IN to attend a funeral
                   June 2−4, 2022 by Allen J. Pendergrass. (Attachments: # 1 Text of Proposed
                   Order, # 2 Exhibit Obituary) (Durrett, Saraliene) (Entered: 05/31/2022)
05/31/2022   282   ORDER GRANTING 281 Motion to Travel outside Jurisdiction as to Allen J.
                   Pendergrass (1) with conditions. Signed by Judge Amy Totenberg on 5/31/22.
                   (jpa) (Entered: 05/31/2022)
06/08/2022   283   Unopposed MOTION to Continue sentencing hearing by Allen J. Pendergrass.
                   (Strickland, Sydney) (Entered: 06/08/2022)
06/10/2022         ORDER, by docket entry only, granting 283 Motion for Continuance of
                   Sentencing Hearing as to Allen J. Pendergrass (1). Sentencing re−set for
                   8/24/2022 at 02:30 PM in ATLA Courtroom 2308 before Judge Amy
                   Totenberg. Entered by Judge Amy Totenberg on 6/10/22. (hfm) (Entered:
                   06/10/2022)
06/21/2022   284   Notice for Leave of Absence for the following date(s): July 11, 2022 through
                   July 15, 2022, by Tracia M. King. (King, Tracia) (Entered: 06/21/2022)
06/30/2022   285   ORDER DENYING the 267 Motion for Judgment of Acquittal and 268 Motion
                   for New Trial as to Allen J. Pendergrass (1). Signed by Judge Amy Totenberg
                   on 6/30/22. (jpa) (Entered: 06/30/2022)
08/19/2022   286   Sentencing Memorandum as to Allen J. Pendergrass filed by Allen J.
                   Pendergrass (Attachments: # 1 Exhibit Letters of Support, # 2 Exhibit Fulton
                   County Pretrial Documents, # 3 Exhibit Fulton County emails, # 4 Exhibit
                   BOP documents, # 5 Exhibit 2019 emails, # 6 Exhibit Recidivism Quick
                   Guide)(Durrett, Saraliene) (Entered: 08/19/2022)
08/20/2022   287   Sentencing Memorandum as to Allen J. Pendergrass filed by USA (King,
                   Tracia) (Entered: 08/20/2022)
08/24/2022   288   Minute Entry for proceedings held before Judge Amy Totenberg: Sentencing
                   hearing held as to Allen J. Pendergrass. Defendant sentenced as to Counts 1
                   through 10 of the Criminal Indictment and advised of appeal rights. See J&C
                   for sentence. BOND (Court Reporter Shannon Welch) (jpa) (Entered:


                                                                                                   29
Case 1:17-cr-00224-AT-CMS     Document 292          Filed 09/08/22       Page 31 of 41



                   08/25/2022)
08/26/2022   289   JUDGMENT AND COMMITMENT as to Allen J. Pendergrass (1) as to
                   Count(s) 1−5, 6, 7, 8, 9−10. 22 months as to Count 1−6 to be served
                   concurrently to each other and 24 months as to each of Counts 7−10 to be
                   served concurrently to each other and consecutively to Counts 1−6 for a total
                   term of 46 months. 18 month supervised release with special and mandatory
                   conditions of release. $1000.00 special assessment. $221,298.36 in restitution.
                   Signed by Judge Amy Totenberg on 8/26/22. −−Please refer to
                   http://www.ca11.uscourts.gov to obtain an appeals jurisdiction checklist−−
                   (jpa) (Entered: 08/29/2022)
09/07/2022   290   NOTICE OF APPEAL as to Allen J. Pendergrass re 289 Judgment and
                   Commitment,,. Transcript Order Form due on 9/21/2022 (Strickland, Sydney)
                   (Entered: 09/07/2022)
09/08/2022         Request For Presentence Investigation Report as to Allen J. Pendergrass re:
                   290 Notice of Appeal filed on 9/7/22. (pjm) (Entered: 09/08/2022)
09/08/2022   291   USCA Appeal Transmission Letter as to Allen J. Pendergrass to USCA− 11th
                   Circuit re: 290 Notice of Appeal filed by Allen J. Pendergrass. (pjm) (Entered:
                   09/08/2022)




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          1:17-cr-00224-AT-CMS
             1:17-cr-00224-AT-CMSDocument
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                                            81 Filed 09/08/22
                                                     12/10/18 Page
                                                               Page132
                                                                     of of
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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA

      UNITED STATES OF                     )
        AMERICA,                           )
                                           )
              Plaintiff,                   )     CASE NO.
                                           )     1:17-CR-00224-1-AT-CMS
                  vs                       )
                                           )
   ALLEN J. PENDERGRASS,                   )
                                           )
             Defendant.                    )

                        ORDER APPOINTING COUNSEL

       The Court finds the Defendant, the individual named below, having

testified under oath or having otherwise satisfied this Court that he or she is

financially unable to employ counsel, is indigent, and because the interest of

justice so require;

       IT IS ORDERED that Saraliene Durrett is hereby appointed to

represent Defendant Allen J. Pendergrass Nunc Pro Tunc to November 27, 2018.

This 10th day of December, 2018.




                UNITED STATES MAGISTRATE JUDGE




                                                                                  31
           Case
             Case
                1:17-cr-00224-AT-CMS
                   1:17-cr-00224-AT-CMSDocument
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                                                           08/26/22 Page
                                                                    Page133
                                                                          ofof
                                                                             8 41

                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

                                                          )
UNITED STATES OF AMERICA                                  )      JUDGMENT IN A CRIMINAL CASE
                                                          )
v.                                                               Case Number: 1:17-CR-0224-AT-1
                                                          )      USM Number: 65828-019
ALLEN J. PENDERGRASS                                      )
                                                          )      Saraliene Smith Durrett
                                                          )      Defendant’s Attorney


THE DEFENDANT:

The defendant was found guilty on counts 1 through 10 after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                      Nature of Offense                        Offense Ended        Count

18 U.S.C. §§ 1341 and 2              Mail Fraud                               April, 2014            1-5


18 U.S.C. § 1956(h)                  Money Laundering Conspiracy              April, 2014             6


18 U.S.C. § 1028A                    Aggravated Identity Theft                April, 2014           7-10

The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.

It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed
by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States
Attorney of material changes in economic circumstances.


                                                         August 24, 2022
                                                         Date of Imposition of Judgment


                                                         Signature of Judge

                                                         AMY TOTENBERG, SENIOR U. S. DISTRICT
                                                         JUDGE
                                                         Name and Title of Judge

                                                         August 26, 2022
                                                         Date




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                  1:17-cr-00224-AT-CMS
                     1:17-cr-00224-AT-CMSDocument
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                                                       Filed09/08/22
                                                             08/26/22 Page
                                                                      Page234
                                                                            ofof
                                                                               8 41

DEFENDANT: ALLEN J. PENDERGRASS
CASE NUMBER: 1:17-CR-0224-AT-1                                                        Judgment -- Page 2 of 8


Judgment in a Criminal Case
Sheet 2 -- Imprisonment

                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for
a total term of: TWENTY- TWO (22) MONTHS as to each of Count 1 through 6 to be served
CONCURRENTLY to each other, and TWENTY-FOUR (24) MONTHS as to each of Counts 7 through 10
to be served CONCURRENTLY to each other and CONSECUTIVELY to Counts 1 through 6 for a total term
of imprisonment of FORTY-SIX (46) MONTHS.

       Due to Defendant’s advanced age, health, and other sentencing concerns, the Court strongly
recommends that defendant be allowed to serve his final EIGHTEEN (18) MONTHS of incarceration in home
confinement and that the Defendant be authorized to work and engage in other activity pre-approved by the
Probation Department or Court during that eighteen month period.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
Prisons: On a date no less than SEVENTY-FIVE (75) DAYS after the published date of this judgment.

      The Court recommends that defendant serve his term of imprisonment at the Bureau of Prisons FPC
Montgomery facility.




                                                                                                                33
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               1:17-cr-00224-AT-CMS
                  1:17-cr-00224-AT-CMSDocument
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                                                          08/26/22 Page
                                                                   Page335
                                                                         ofof
                                                                            8 41

DEFENDANT: ALLEN J. PENDERGRASS
CASE NUMBER: 1:17-CR-0224-AT-1                                                          Judgment -- Page 3 of 8

                                                    RETURN

I have executed this judgment as follows:




 Defendant delivered on                                     to

 at                                         , with a certified copy of this judgment.



                                                                           UNITED STATES MARSHAL




                                                                       DEPUTY UNITED STATES MARSHAL




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                   1:17-cr-00224-AT-CMS
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DEFENDANT: ALLEN J. PENDERGRASS
CASE NUMBER: 1:17-CR-0224-AT-1                                                          Judgment -- Page 4 of 8



Judgment in a Criminal Case
Sheet 3 -- Supervised Release

                                           SUPERVISED RELEASE

    Upon release from imprisonment, you will be on supervised release for a term of: EIGHTEEN (18)
MONTHS.

        You must report to the probation office in the federal judicial district where you are authorized to reside
within 72 hours of the time you are released from imprisonment, unless the probation officer instructs you to
report to a different probation office or within a different time.



                                        MANDATORY CONDITIONS


1. You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within
   15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the
   court.
4. You must cooperate in the collection of DNA as directed by the probation officer.
5. You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing
   a sentence of restitution. Restitution payments must be made to Clerk, U.S. District Court, Northern District
   of Georgia, 2211 U.S. Courthouse, 75 Ted Turner Dr. SW, Atlanta, GA 30303.
6. You must not own, possess or have under your control any firearm, dangerous weapon or other destructive
   device as those terms are defined in 18 U.S.C. § 921 (i.e., anything that was designed, or was modified for,
   the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).


You must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached page.




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DEFENDANT: ALLEN J. PENDERGRASS
CASE NUMBER: 1:17-CR-0224-AT-1                                                                             Judgment -- Page 5 of 8

                                    STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

   1.  You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
       time frame.
   2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
       and when you must report to the probation officer, and you must report to the probation officer as instructed.
   3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
       from the court or the probation officer.
   4. You must answer truthfully the questions asked by your probation officer.
   5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
       notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
       officer within 72 hours of becoming aware of a change or expected change.
   6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
       officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
   7. You must work (at least 20 hours per week) at a lawful type of employment, unless the probation officer excuses you from doing
       so for advanced age or health related reasons. If you plan to change where you work or anything about your work (such as your
       position or your job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the
       probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation
       officer within 72 hours of becoming aware of a change or expected change.
   8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of
       the probation officer.
   9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
   10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
       that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
       nunchakus or tasers).
   11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
       without first getting the permission of the court.
   12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact
       the person and confirm that you have notified the person about the risk.
   13. You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov

I understand that a violation of any of these conditions of supervised release may result in modification, extension, or revocation of my
term of supervision.


 Defendant's Signature                                                    Date

 USPO's Signature                                                         Date




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DEFENDANT: ALLEN J. PENDERGRASS
CASE NUMBER: 1:17-CR-0224-AT-1                                                        Judgment -- Page 6 of 8


                               SPECIAL CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following special conditions of supervision.

You must make full and complete disclosure of your finances and submit to an audit of your financial documents
at the request of your probation officer. You must provide the probation officer with full and complete access to
any requested financial information and authorize the release of any financial information. The probation office
may share the financial information with the United States Attorney's Office.

You must not incur new credit charges, or open additional lines of credit without the approval of the probation
officer.

You must submit your person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. §
1030(e)(1)), other electronic communications or data storage devices or media, or office, to a search conducted
by a United States Probation Officer. Failure to submit to a search may be grounds for revocation of release.
You must warn any other occupants that the premises may be subject to searches pursuant to this condition. An
officer may conduct a search pursuant to this condition only when reasonable suspicion exists that you violated a
condition of your supervision and that areas to be searched contain evidence of this violation. Any search must
be conducted at a reasonable time and in a reasonable manner.

You must permit confiscation and/or disposal of any material considered to be contraband or any other item which
may be deemed to have evidentiary value of violations of supervision.

You must not use or possess any controlled substances without a valid prescription. If you do have a valid
prescription, you must disclose the prescription information to the probation officer and follow the instructions
on the prescription.




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DEFENDANT: ALLEN J. PENDERGRASS
CASE NUMBER: 1:17-CR-0224-AT-1                                                       Judgment -- Page 7 of 8


Judgment in a Criminal Case
Sheet 5 -- Criminal Monetary Penalties

                                         CRIMINAL MONETARY PENALTIES

                   Special Assessment

TOTAL         $1000.00 which shall be due immediately. The assessment shall be paid to Clerk, U.S. District
Court, Northern District of Georgia.

The Court finds that the defendant does not have the ability to pay a fine and cost of incarceration. The Court
waives the fine and cost of incarceration in this case.

                   Fine

TOTAL              $0

                   Restitution

TOTAL              $221,298.36

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C.
§ 3664(i), all nonfederal victims must be paid before the United States is paid.

 Name of Payee                       Total Loss*****     Restitution Ordered

 City of Atlanta                     $194,775.37         $194,775.37
 Finance Department
 68 Mitchell Street
 Suite 11100
 Atlanta, Georgia 30303

 Harris County Texas                 $5,184.83           $5,184.83
 C/O Ann Harris Bennett
 Harris County Tax
 Collector
 P.O. Box 4622
 Houston, Texas 77210-
 4622

 Fort Collins Colorado               $21,338.16          $21,338.16
 City of Fort Collins
 P.O. Box 580
 Fort Collins, Colorado
 80522




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DEFENDANT: ALLEN J. PENDERGRASS
CASE NUMBER: 1:17-CR-0224-AT-1                                                                Judgment -- Page 8 of 8



 TOTALS                         $221,298.36                    $221,298.36

The court determined that the defendant does not have the ability to pay interest and it is ordered that: The interest
requirement is waived for the restitution.



                                            SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A.      Payment in equal monthly- installments of $100.00, totaling $5,000.00, over a period of FIVE (5) YEARS, to
        commence immediately after the publication date of this judgment.

B.      Payment of the $216,298.36 balance of restitution during the term of supervised release will commence SIXTY
        (60) DAYS after release from imprisonment at a monthly rate of $150.00. The supervising probation officer may
        determine an increase or reduction of the monthly rate based upon defendant’s ability to pay.




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                  IN THE UNITED STATES DISTRICT
                COURT FOR THE NORTHERN DISTRICT
                  OF GEORGIA ATLANTA DIVISION

 UNITED STATES OF AMERICA,                )
     Plaintiff,                           )     CRIMINAL ACTION NO.
                                          )
 V.                                       )     1:17-CR-00224-AT-CMS
                                          )
                                          )
 ALLEN J. PENDERGRASS,                    )
     Defendant.                           )
                                          )

                                NOTICE OF APPEAL

      Notice is hereby given that Allen J. Pendergrass hereby appeals to the

Eleventh Circuit the judgment entered on August 26, 2022, by the Honorable

Amy Totenberg (Doc. 289) in the United States District Court for the

Northern District of Georgia.

      Respectfully submitted this 7th day of September, 2022.

                                         /s/ Sydney R. Strickland
                                         Sydney R. Strickland
                                         Georgia Bar No. 418591
                                         Attorney for Allen J. Pendergrass
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